Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 1 of 118 PageID #: 18069




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

                  In re:                             Chapter 11

        Boy Scouts of America and            Case No. 20-10343 (LLS)
          Delaware BSA, LLC,
                                               (Jointly Administered)
                 Debtors.

      National Union Fire Insurance
       Co. of Pittsburgh, PA, et al.,       Case No. 22-cv-01237-RGA
                Appellants.
                     v.                       (Jointly Consolidated)1

        Boy Scouts of America and
          Delaware BSA, LLC,

                Appellees.


      DECLARATION OF GILION C. DUMAS IN SUPPORT OF THE
     RENEWED MOTION OF DUMAS & VAUGHN CLAIMANTS FOR
     STAY OF BANKRUPTCY PLAN AND MOTION TO STAY APPEAL


 I, Gilion C. Dumas, declare under penalty of perjury as follows:

         1.   I am a partner in the law firm of Dumas & Vaughn, LLC and

 represent the Dumas & Vaughn Claimants (“D&V Claimants”) in this

                           
         Case numbers 22-cv-01237, 22-cv-01238, 22-cv-01239, 22-cv-
         1

 01240, 22-cv-01241, 22-cv-01242, 22-cv-01243, 22-cv-01244, 22-cv-
 01245, 22-cv-01246, 22-cv-01247, 22-cv-01249, 22-cv-01250, 22-cv-
 01251, 22-cv-01252, 22-cv-01258, and 22-cv-01263 have been jointly
 consolidated under 22-cv-01237.

                                       1
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 2 of 118 PageID #: 18070




 appeal and the underlying Boy Scouts of America (“BSA”) bankruptcy.

 I submit this Declaration in support of the Renewed Motion of Dumas &

 Vaughn Claimants for Stay of Bankruptcy Plan and Motion to Stay

 Appeal. I am over 18 years old. This Declaration is based on my

 personal knowledge and review of relevant documents. I would be

 competent to testify to the facts set forth in this Declaration if called as

 a witness.

       2.    D&V Claimants appeal from the March 28, 2023 Order of

 the district court affirming the bankruptcy court’s confirmation of

 Debtors’ plan of reorganization; the related Opinion of the district court,

 also dated March 28, 2023 (In Re BSA, 650 B.R. 87 (2023)); the

 bankruptcy court’s confirmation Order, dated September 8, 2022; and

 the bankruptcy court’s related Opinion, dated July 29, 2022 (In Re Boy

 Scouts of America, 642 B.R. 504 (2022) (“BSA”)).

       3.    My law firm has been actively involved in the BSA

 bankruptcy since the February 18, 2020 petition date. D&V Claimants

 are all sexual abuse survivors who filed sexual abuse proofs of claim in

 the bankruptcy case. They all voted against confirmation of the Plan.

 All of the D&V Claimants have direct liability claims against non-



                                      2
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 3 of 118 PageID #: 18071




 debtor Local Councils (regional Scouting entities); most have claims

 against a Chartered Organization (entities that sponsored their Scout

 troops or Cub Scout packs). Almost all of the 69 have filed or are in the

 process of filing lawsuits in state court to preserve those claims. These

 lawsuits allege claims for, among other things, negligence, fraud,

 constructive fraud, vicarious liability for intentional torts, and punitive

 damages for willful and malicious conduct. These lawsuits have been

 stayed since March 30, 2020, when the bankruptcy court entered its

 nationwide preliminary injunction. Because the D&V Claimants have

 not been able to pursue discovery in these lawsuits, the full extent of

 the liability of released non-debtors remains unknown.

       4.   D&V Claimants objected to the plan because the bankruptcy

 court did not have jurisdiction to grant nonconsensual third-party

 releases and channeling injunctions to non-debtors; the releases and

 injunctions are not authorized by the Bankruptcy Code; and, even

 assuming they are authorized, they do not meet the standards of Third

 Circuit caselaw.




                                      3
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 4 of 118 PageID #: 18072




       5.   Attached as Exhibit 1 are true and accurate copies of

 excerpts from Bankr. D.I. 11123-1, the Amended Notice of Entry of

 Confirmation Order and Occurrence of Effective Date.

       6.   Attached as Exhibit 2 are true and accurate copies of emails

 from the Settlement Trustee’s office. The August 4 email explains that

 the questionnaire for and portal to submit sexual abuse claims (“Trust

 Claims” and “Independent Review Option” (“IRO”) claims) was not

 available. Only those approximately 7,300 (out of 82,000) holders of

 “Expedited Distribution” claims had access to a questionnaire and

 portal since August 4. The August 16 email explains registering for

 access to discovery documents, which requires registering with the

 claim portal. Only in the August 17 email did the Trustee’s office

 announce that attorneys could register for the portal to submit regular

 claims. As of the filing of this motion, counsel for D&V Claimants had

 not received confirmation allowing them access to the discovery

 documents.

       7.   Attached as Exhibit 3 are true and accurate copies of

 excerpts from BSA’s final Chapter 11 plan of reorganization.




                                      4
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 5 of 118 PageID #: 18073




       8.   Attached as Exhibit 4 are true and accurate copies of

 excerpts from the solicitation version of the Disclosure Statement.

       9.   Attached as Exhibit 5 are true and accurate copies of

 excerpts from the Final Vote Tabulation.

       10. Attached as Exhibit 6 are true and accurate copies of

 excerpts from the Documents Appendix. The “Document Appendix” is

 available on the Scouting Settlement Trust website at:

       https://scoutingsettlementtrust.my.salesforce.com/sfc/p/#Dp0
       000016pkB/a/Dp000000sbbs/.Yktt4ekPInxGkrvv7fm4ne05W
       JzMquaeHHc9tbigFw.

 However, the Document Appendix itself does not include any discover

 documents. The Appendix is only “an informational protocol that

 governs the production of, access to, and the scope of information held

 by BSA, Local Councils (and their predecessors), and Chartered

 Organizations relevant to help support the validation, evaluation,

 approval, and enforcement of insurance that covers Abuse Claims.”

 https://www.scoutingsettlementtrust.com/s/faq. No documents are

 available. D&V Claimants are unfairly prejudiced by their lack of

 access to required discovery. This prejudice is particularly onerous for

 those D&V Claimants considering or preparing IRO claims because the



                                      5
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 6 of 118 PageID #: 18074




 plan requires these documents before or on, and as a condition to, the

 effective date, which was April 19, and IRO claims are due October 19.

       11. Attached as Exhibit 7 is a true and accurate copy of the

 Third Circuit August 18, 2023 Order dismissing D&V Claimants’

 Renewed Motion for Stay without prejudice, directing D&V Claimants

 to file the motion in this Court.

       12. Attached as Exhibit 8 is a true and accurate copy of the

 Opening Brief filed by D&V Claimants in the Third Circuit.

 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that
 the foregoing is true and correct.


 Dated:      Portland, Oregon
             August 18, 2023


                                     ______________________
                                     Gilion C. Dumas


 




                                      6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 7 of 118 PageID #: 18075




                               EXHIBIT 1
             
Case 1:22-cv-01237-RGA   Document Page
                                  224 Filed 08/18/23      
                                                               8 of 118 PageID #: 18076



                                     !
                                          
 
                                                                  
                                                                           2+:>/<
     8</
                                                                           
     
                                                                           +=/9      ##
      (# %$# "&"
                                                                           
     #
                                                                           938>6C.7383=>/</.
     
                                                                       
                 /,>9<=
                                                                           
     
 
    !  
        "  
        !                                                
                                                              
               
           
           -,')/+#0)-, /%&/  8 #/:>/7,/<    >2/ %83>/. #>+>/= +85<?:>-C 9?<> 09< >2/ 3=><3-> 90
 /6+A+</>2/E+85<?:>-C9?<>F/8>/</.+89<./<)  *>2/E9803<7+>398 <./<F-9803<7381>2/
     !! &!! ! %"! 
  $ )  *+=7+C,/0?<>2/<+7/8./.=?::6/7/8>/.9<79.303/.38+--9<.+8-/A3>2>2/
 >/<7=>2/</90+8.>91/>2/<A3>2>2/!6+8#?::6/7/8>+8.>2/!6+89-?7/8>=>2/E!6+8F 38>2/-2+:>/<-+=/=90
 9C#-9?>=907/<3-++8./6+A+</#>2/+,9@/-+:>398/.898:<903>-9<:9<+>398=>2+>+</./,>9<=+8.
 ./,>9<=38:9==/==398>91/>2/<>2/E/,>9<=F
           
             '')/+#0)-,/%&/ 8+<-2   >2/%83>/.#>+>/=3=><3->9?<>09<>2/3=><3->90/6+A+<//8>/</.
 +8 :38398) *+8. <./<) *383@9  "/6+003<7381>2/9803<7+>398 <./<98
 +::/+6>2/E003<7+>398 <./<F 
           
           ''&$0)1&#0& 8 ./)*  >2/00/->3@/+>/90>2/!6+89--?<</.+8.+=+</=?6>>2/!6+82+=,//8
 =?,=>+8>3+66C-98=?77+>/.66-98.3>398=:</-/./8>>9>2/00/->3@/+>/90>2/!6+8=/>09<>238<>3-6/'90>2/
 !6+82+@//3>2/<,//8=+>3=03/.9<A+3@/.38+--9<.+8-/A3>2>2/!6+8+8.9803<7+>398 <./<
          
            ),%),(''&$0=90>2/00/->3@/+>/>2/>/<7=90>2/!6+838-6?.381A3>29?>6373>+>398+66.3=-2+<1/
 384?8->398/B-?6:+>398+8.</6/+=/:<9@3=398=-98>+38/.38>2/!6+8+8.>2/9803<7+>398 <./<+8.!6+89-?7/8>=
 +</377/.3+>/6C/00/->3@/+8./809<-/+,6/+8..//7/.,38.381?:98>2//,>9<=>2/"/9<1+83D/.#+8.+8C+8.
 +66296./<=906+37=+1+38=>+8.8>/</=>=38>2//,>9<=3<</=:/->3@/90A2/>2/<296./<=90=?-26+37=9<8>/</=>=
 @9>/.>9+--/:>>2/!6+89<+</37:+3</.?8./<>2/!6+8+668>3>3/=>2+>+</:+<>3/=>99<+</=?,4/->>9>2/=/>>6/7/8>=
 -97:<973=/=</6/+=/=.3=-2+<1/=+8.384?8->398=./=-<3,/.38>2/!6+8/+-28>3>C+-;?3<381:<9:/<>C?8./<>2/
 !6+8+8.+8C+8.+66898/,>9<:+<>3/=>9B/-?>9<C98><+->=+8.%8/B:3</./+=/=+8.89>A3>2=>+8.381A2/>2/<
 =?-2!/<=989<8>3>C+A366</-/3@/9<</>+38+8C:<9:/<>C9<38>/</=>38:<9:/<>C?8./<>23=!6+8,2+=036/.+
 !<990906+3738>2/2+:>/<+=/=9<-0+36/.>9@9>/>9+--/:>9<</4/->>2/!6+8+003<7+>3@/6C@9>/.>9</4/->
 >2/!6+89<3=-98-6?=3@/6C:</=?7/.>9</4/->>2/!6+8
                                         
 
      $2//,>9<=38>2/=/-2+:>/<-+=/=>91/>2/<A3>2>2/6+=>09?<.313>=90/+-2/,>9<G=0/./<+6>+B3./8>303-+>398
        8?7,/<+</+=09669A=9C#-9?>=907/<3-+ +8./6+A+</# $2//,>9<=G7+36381
        +..</==3=      &/=>&+68?>366+8/<@381$/B+=  
      +:3>+63D/.>/<7=?=/.,?>89>9>2/<A3=/./038/.2/</38=2+662+@/>2/7/+8381=+=-<3,/.>9=?-2>/<7=38>2/
        9803<7+>398 <./<9<!6+8+=+::63-+,6/
      $23=89>3-/3=38>/8./.>9:<9@3./89>3-/90>2/00/->3@/+>/+79819>2/<>2381=+8.3>.9/=89>+8.=2+6689>
        ,/-98=><?/.>96373>79.30C9<38>/<:</>+8C90>2/:<9@3=398=90>2/!6+88=?<+8-/#/>>6/7/8>1<//7/8>=
        9803<7+>398 <./<9<003<7+>398 <./<#97/90>2/:<9@3=398=90>2/!6+88=?<+8-/#/>>6/7/8>1<//7/8>=
        +8.9803<7+>398 <./<+</38-6?./.2/</3809<>2/-98@/83/8-/90-</.3>9<=$#-</.3>9<==29?6.</0/<>9
        >2/0?66>/B>90>2/=/.9-?7/8>=+8.=29?6.89></6C?:98>2/=?77+<C:<9@3./.2/</38



                                                         EXHIBIT 1                                                    Page 1 of 1
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 9 of 118 PageID #: 18077




                               EXHIBIT 2
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 10 of 118 PageID #: 18078


   From:            Scouting Settlement Trust Info
   Subject:         Scouting Settlement Trust | Expedited Claims Questionnaire
   Date:            Friday, August 4, 2023 5:41:14 AM



   Counsel for Scouting Settlement Trust Survivors,

   We are pleased to announce that the Scouting Settlement Trust (the “Trust”) is ready to
   process Expedited Distribution Abuse Claims. To enable the Trust to process the Expedited
   Distribution Abuse Claims, your clients will need to complete a short Expedited Claims
   Questionnaire and submit it to the Trust by October 3rd, 2023.

   A claims processing portal has been established at www.scoutingsettlementtrust.com to
   facilitate the processing of the Expedited Distribution Abuse claims. You will need to register
   for a user account to access the claims processing portal. Only the attorney associated with
   the Claimant’s Proof of Claim will be able to register via the Claims Processing Portal. If
   additional individuals, including paralegals from your law firm, need access to the Claims
   Processing Portal, please contact us at info@scoutingsettlementtrust.com.

   The Claims Processing Portal has been pre-populated with the list of Expedited Distribution
   Abuse Claims for your law firm based on the information made available to the Trust. Please
   review your list of claim(s) and advise us if it is incorrect. In addition, your client will need your
   assistance in submitting a completed Expedited Claims Questionnaire to the Trust. Please
   note that both your client and you will need to sign the Expedited Claims Questionnaire prior
   to its submission to the Trust.

   The Claims Processing Portal is currently available only to law firms representing Claimants
   who have Expedited Distribution Abuse Claims and to pro se Claimants who have Expedited
   Distribution Abuse Claims. An announcement will be made when the Claims Questionnaire for
   non-expedited Claimants (Trust Claim submissions and Independent Review Option
   submissions) becomes available.

   If you have any questions or need help accessing the Claims Processing Portal, please contact
   us at info@scoutingsettlementtrust.com.

   Regards,

   Scouting Settlement Trust Team
   ------------------------------------------------------------------------------------------------------
   The information transmitted, including any attachments, is intended only for the person or entity to
   which it is addressed and may contain confidential and/or privileged material. Any review,
   retransmission, dissemination or other use of, or taking of any action in reliance upon, this
   information by persons or entities other than the intended recipient is prohibited, and all liability
   arising therefrom is disclaimed. If you received this in error, please contact the sender and delete


                                                       EXHIBIT 2                                     Page 1 of 6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 11 of 118 PageID #: 18079


   the material from any computer.




                                     EXHIBIT 2                            Page 2 of 6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 12 of 118 PageID #: 18080


   From:           Emily Chung
   To:             Gilion Dumas
   Subject:        FW: Scouting Settlement Trust – Acknowledgement re: Document Appendix
   Date:           Friday, August 18, 2023 11:51:01 AM
   Attachments:    FIRM EMPLOYEE ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND.pdf
                   ATTORNEY ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND.pdf



   From: Document Appendix <documentappendix@scoutingsettlementtrust.com>
   Sent: Wednesday, August 16, 2023 1:52 PM
   To: Document Appendix <documentappendix@scoutingsettlementtrust.com>
   Subject: Scouting Settlement Trust – Acknowledgement re: Document Appendix


   The Plan Appendix Re: Document Sharing (“the Document Appendix”) [live link] calls for
   the creation of a document repository (the “Document Repository”) to give Claimants, through
   their attorneys, access to certain documents they may find helpful in obtaining compensation
   under the Plan.



   The Scouting Settlement Trust (the “Trust”) is required to protect the information in the
   Document Repository because it contains information that is protected from disclosure by
   court protective orders and various privilege rules.



   For this reason, up to five attorneys and law firm employees will be given access to the
   Document Repository only after completing two steps: (1) electronically signing an Attorney
   Acknowledgement and Agreement to be Bound (the “Attorney Acknowledgement”) or a Firm
   Employee & Attorney Acknowledgement and Agreement to Be Bound (the “Firm Employee
   & Attorney Acknowledgement”), and (2) becoming registered on the Claims Processing
   Portal. For your review, we have attached copies of the Attorney Acknowledgement and Firm
   Employee & Attorney Acknowledgement.



   If you or other attorneys and employees at your law firm wish to have access to the Document
   Repository, you must first complete this online form:
   https://forms.office.com/r/UAg7NfhWBA. Each person listed on the form will receive an
   email from Adobe Sign on behalf of the Trust allowing that person to electronically sign one
   of the two Acknowledgements. The Trust will only accept Acknowledgements signed through
   Adobe Sign.



   Please note that the Firm Employee & Attorney Acknowledgement requires signatures by both
   the law firm employee and the supervising attorney, who must also be an authorized user of
   the Document Repository. For this reason, initially Attorney Acknowledgments will be
   sent only to attorneys. Shortly thereafter, firm employees listed on the online form will
   receive emails from Adobe Sign on behalf of the Trust that will allow those persons to
   electronically sign the Firm Employee and Attorney Acknowledgements.

                                                    EXHIBIT 2                                  Page 3 of 6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 13 of 118 PageID #: 18081




   After each Acknowledgment is executed, each attorney or firm employee will receive an email
   from documentappendix@scoutingsettlementtrust.com for the next step of the Document
   Repository registration process.



   Regards,

   Scouting Settlement Trust Team
   ------------------------------------------------------------------------------------------------------
   The information transmitted, including any attachments, is intended only for the person or
   entity to which it is addressed and may contain confidential and/or privileged material. Any
   review, retransmission, dissemination or other use of, or taking of any action in reliance
   upon, this information by persons or entities other than the intended recipient is prohibited,
   and all liability arising therefrom is disclaimed. If you received this in error, please contact
   the sender and delete the material from any computer.




                                                EXHIBIT 2                                            Page 4 of 6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 14 of 118 PageID #: 18082


   From:           Scouting Settlement Trust Info
   Subject:        Scouting Settlement Trust | Trust Distribution Claims Questionnaire
   Date:           Thursday, August 17, 2023 5:53:57 AM


   Counsel for Scouting Settlement Trust Survivors,

   We are pleased to announce that the Scouting Settlement Trust (the “Trust”) is now accepting
   Trust Distribution Abuse Claims. To enable the Trust to process the claims, your clients will
   need to complete a Claims Questionnaire and submit it to the Trust.

   A claims processing portal has been established at www.scoutingsettlementtrust.com to
   facilitate the processing of the claims. If you have not done so already, you will need to
   register for a user account to access the Claims Processing Portal. Only the attorney
   associated with the Claimant’s Proof of Claim will be able to register via the Claims Processing
   Portal. If additional individuals, including paralegals from your law firm, need access to
   the Claims Processing Portal, please contact us at info@scoutingsettlementtrust.com.

   The Claims Processing Portal has been pre-populated with the list of Trust Distribution Abuse
   Claims for your law firm based on the information made available to the Trust. Please review
   your list of claim(s) and advise us if it is incorrect. We will do our best to identify and make
   available the proof of claim form(s) your clients previously filed. In certain cases, we may not
   be able to make this information available in full due to a lack of identifying information on the
   proof of claim filing. Please note that both your client and you will need to sign the Claims
   Questionnaire prior to its submission to the Trust. Please do not submit the claims
   questionnaire until all information is reviewed and confirmed for accuracy.

   Please note that Article VII (A) of the Trust Distribution Procedures (TDP) requires that the
   Claimant “produce all records and documents in his or her possession, custody, or control
   related to the Abuse Claim, including all documents pertaining to all settlements, awards, or
   contributions already received or that are expected to be received from a Protected Party or
   other sources . . . “ (emphasis added). In addition, please note that Section A of the Claims
   Questionnaire requires that “[y]ou must agree to produce for the Trustee all the documents
   and records in your possession relating to this Abuse claim.” The Trust expects full
   compliance with these production requirements and has provided instructions on how to
   upload all required documents and records to the claims processing portal.

   We are offering a “bulk upload” option for firms that have more than 50 Claimants. The bulk
   upload option allows information to be efficiently pre-populated into the Claims
   Questionnaire in bulk. An announcement will be made soon about this option.

   There currently is no deadline to complete the Trust Claims Questionnaire, but we will notify
   all Claimants or their counsel when we do establish a deadline. Once we make that
   notification, Claimants will have 120 days to submit their completed claims questionnaires to
   the Trust. However, if you would like to participate in the Independent Review Option
   (“IRO”), you must elect to participate and complete and submit the Trust Claims
   Questionnaire to the Trust by October 19, 2023 (six months after the Effective Date).



                                                       EXHIBIT 2                                Page 5 of 6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 15 of 118 PageID #: 18083


   As part of the Trust’s commitment to transparency and open dialogue, it will host an hourlong
   Town Hall for claimants on Tuesday, Aug. 29 at 8 p.m. EDT / 5 p.m. PDT. Trustee Barbara
   Houser and claims administrator Randi Ilyse Roth will present an overview of the process and
   answer questions. Please watch your email in the coming days for more information about
   how to register. This will be first of what is planned to be regular meetings to keep claimants
   informed and up to date.

   If you have any questions or need help accessing the Claims Processing Portal, please contact
   us at info@scoutingsettlementtrust.com.

   Regards,

   Scouting Settlement Trust Team
   ------------------------------------------------------------------------------------------------------
   The information transmitted, including any attachments, is intended only for the person or entity to
   which it is addressed and may contain confidential and/or privileged material. Any review,
   retransmission, dissemination or other use of, or taking of any action in reliance upon, this
   information by persons or entities other than the intended recipient is prohibited, and all liability
   arising therefrom is disclaimed. If you received this in error, please contact the sender and delete
   the material from any computer.




                                                EXHIBIT 2                                            Page 6 of 6
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 16 of 118 PageID #: 18084




                                EXHIBIT 3
           
Case 1:22-cv-01237-RGA          
                         Document       
                                   224 Filed           
                                               08/18/23  Page 17 of 118
                                                                        PageID #: 18085




                                      EXHIBIT 3                                Page 1 of 5
           
Case 1:22-cv-01237-RGA                  
                         Document 224 Filed            
                                               08/18/23  Page 18 of 118
                                                                        PageID #: 18086




                                      EXHIBIT 3                                Page 2 of 5
           
Case 1:22-cv-01237-RGA          
                         Document       
                                   224 Filed           
                                               08/18/23  Page 19 of 118
                                                                         PageID #: 18087




                                      EXHIBIT 3                                 Page 3 of 5
           
Case 1:22-cv-01237-RGA          
                         Document       
                                   224 Filed           
                                               08/18/23  Page 20 of 118
                                                                         PageID #: 18088




                                      EXHIBIT 3                                 Page 4 of 5
           
Case 1:22-cv-01237-RGA          
                         Document       
                                   224 Filed           
                                               08/18/23  Page 21 of 118
                                                                         PageID #: 18089




                                      EXHIBIT 3                                 Page 5 of 5
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 22 of 118 PageID #: 18090




                                EXHIBIT 4
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 23 of 118 PageID #: 18091




                                   EXHIBIT 4                             Page 1 of 3
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 24 of 118 PageID #: 18092




                                   EXHIBIT 4                             Page 2 of 3
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 25 of 118 PageID #: 18093




                                   EXHIBIT 4                             Page 3 of 3
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 26 of 118 PageID #: 18094




                                EXHIBIT 5
               
Case 1:22-cv-01237-RGA               Filed
                         Document 224        
                                                 08/18/23 Page 27 of 118 PageID #: 18095




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


      In re:                                                          Chapter 11

                                                                      Case No. 20-10343 (LSS)
      BOY SCOUTS OF AMERICA AND
      DELAWARE BSA, LLC 1
                                                                      (Jointly Administered)
                       Debtors.
                                                                      Re: D.I. 8345

                 CATHERINE NOWNES-WHITAKER
     OF OMNI AGENT SOLUTIONS REGARDING THE      
                                      
                      FOR HOLDERS OF CLAIMS IN CLASS 8 AND
      CLASS 9 ON THE THIRD MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF
   REORGANIZATION FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC
                                                
  I, Catherine Nownes-Whitaker, being duly sworn, hereby declare as follows:

               1.     I am the Chief Operating Officer of Omni Agent Solutions (“Omni”), located at

  5955 DeSoto Avenue, Suite 100, Woodland Hills, California 91367. I am over the age of eighteen

  years and not a party to the above-captioned action. Unless otherwise noted, I have personal

  knowledge of the facts set forth herein.

               2.     On April 8, 2020, Omni was retained as administrative agent to the Debtors, nunc

  pro tunc to February 18, 2020. See D.I. 372. As administrative agent, Omni’s services include

  solicitation, balloting, and tabulation of votes on the Plan.                      Omni and its employees have

  considerable experience in soliciting and tabulating votes to accept or reject chapter 11 plans.

               3.     Except as otherwise noted, all facts set forth herein are based on my personal

  knowledge, knowledge that I acquired from individuals under my supervision, and my review of




  1     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
        number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailin g
        address is 1325 West Walnut Hill Lane, Irving, Texas 75038.



                                                        EXHIBIT 5                                                    Page 1 of 3
              
Case 1:22-cv-01237-RGA   Document 
                                   224  Filed
                                            
                                                08/18/23 Page 28 of 118 PageID #: 18096




                                       Exhibit A

                     Final Tabulation Summary – Class 8 and Class 9




                                      EXHIBIT 5                                Page 2 of 3
                
  Case 1:22-cv-01237-RGA   Document 
                                     224  Filed
                                              
                                                  08/18/23 Page 29 of 118 PageID #: 18097


                                                                                               ([KLELW$
                                                                            )LQDO7DEXODWLRQ6XPPDU\±&ODVVDQG&ODVV

 'HEWRU%R\6FRXWVRI$PHULFD
 &DVH1R
 %DOORW6XPPDU\5HVXOWV


 &ODVV6XPPDU\       9RWLQJ2XWFRPH     $FFHSWHG
 'LUHFW$EXVH
 &ODLPV                                                            $OO                                         0DVWHU%DOORWV                         'LUHFW%DOORWV
                                                7RWDO9DOLG          $FFHSWHG            5HMHFWHG           $FFHSWHG              5HMHFWHG         $FFHSWHG              5HMHFWHG
                               9RWHV                                                                                                   
                                9RWH                                                                                                     
                               $PRXQW                                                                        
                            $PRXQW                                                                                                       
                                                         
          (OHFW([SHGLWHG'LVWULEXWLRQ                                             
        (OHFW([SHGLWHG'LVWULEXWLRQ                                       
                  2SW2XW(OHFWLRQV             



 &ODVV6XPPDU\       9RWLQJ2XWFRPH     $FFHSWHG
 ,QGLUHFW$EXVH
 &ODLPV                                         7RWDO9DOLG          $FFHSWHG            5HMHFWHG
                                9RWHV                                         
                                9RWH                                            
                               $PRXQW                               
                            $PRXQW                                              
                    2SW2XW(OHFWLRQV            




 'HEWRU'HODZDUH%6$//&
 &DVH1R
 %DOORW6XPPDU\5HVXOWV


 &ODVV6XPPDU\       9RWLQJ2XWFRPH     $FFHSWHG
 ,QGLUHFW$EXVH
 &ODLPV                                         7RWDO9DOLG          $FFHSWHG            5HMHFWHG
                                9RWHV                                               
                                9RWH                                            
                               $PRXQW                                     
                            $PRXQW                                              
                    2SW2XW(OHFWLRQV               




2PQLUHFHLYHG&ODVV%DOORWVLQZKLFKWKHKROGHUPDGHWKH([SHGLWHG'LVWULEXWLRQ(OHFWLRQEXWGLGQRWYRWHWRDFFHSWRUUHMHFWWKH3ODQZKLFKDUHLQFOXGHGLQWKLVWRWDO




                                                                                        EXHIBIT 5                                                                                   Page 3 of 3
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 30 of 118 PageID #: 18098




                                EXHIBIT 6
              
Case 1:22-cv-01237-RGA   Document    
                                   224 Filed 08/18/23 Page 31 of 118 PageID #: 18099




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

  In re:                                                              Chapter 11

  BOY SCOUTS OF AMERICA AND                                           Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC,1
                                                                      (Jointly Administered)
                    Debtors.



                             PLAN APPENDIX RE: DOCUMENT SHARING

          1.     Production of Documents from Reorganized BSA. On or before the Effective
  Date of the Plan, and as a condition to the Effective Date of the Plan, Debtors shall provide the
  following Documents to the Settlement Trustee, except to the extent a different production date is
  indicated below:

                    (a)      Documents produced in connection with the Chapter 11 Cases that relate to
                             the Abuse Claims, including Documents produced by Local Councils in
                             connection with the Preliminary Injunction; for the avoidance of doubt, this
                             shall include all Rosters2 produced by Local Councils in connection with
                             the Preliminary Injunction;

                    (b)      Documents pertaining to the Abuse Claims that were open and unresolved
                             as of the Petition Date that are in the possession of 'HEWRUV¶ National
                             Coordinating Counsel, Ogletree Deakins;

                    (c)      The Volunteer Screening Database to the extent it relates to sexual abuse in
                             Scouting. The Settlement Trustee or the holder of an Abuse Claim may
                             request that Reorganized BSA search any other categories contained within
                             the Volunteer Screening Database with respect to an alleged perpetrator.
                             Reorganized BSA agrees that it will promptly conduct such a search and
                             provide any records to the Settlement Trustee or the holder of an Abuse
                             Claim it may find with respect to the particular request;

                             (i)      The foregoing production includes any of the Reorganized BSA¶s
                                      ³3HUYHUVLRQ´ILOHV³&RQILGHQWLDO´ILOHVDQG³5HG)ODJ´ILOHVRUILOHV
                                      stored under any other name comprising records of individuals
                                      accused of sexual impropriety or abuse of minors in the Scouting
                                      3URJUDP ³3HUYHUVLRQ)LOHV´ LQERWKUHGDFWHG UHGDFWLQJWKHQDPHV

  1
      7KH'HEWRUVRQWKHVHFKDSWHUFDVHVWRJHWKHUZLWKWKHODVWIRXUGLJLWVRIHDFK'HEWRU¶VIHGHUDOWD[LGHQWLILFDWLRQ
      QXPEHUDUHDVIROORZV%R\6FRXWVRI$PHULFD  DQG'HODZDUH%6$//&  7KH'HEWRUV¶PDLOLQJ
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
  2
      ³5RVWHUV´ VKDOO PHDQ ³KLVWRULFDO WURRS DQG FDPS URVWHUV WKDW GHVFULEH E\ QDPH WKH Scouting youth, adult
      YROXQWHHUVRU6FRXWLQJYROXQWHHUV´


                                                         1
                                                      EXHIBIT 6                                                     Page 1 of 2
              
Case 1:22-cv-01237-RGA   Document    
                                   224 Filed 08/18/23 Page 32 of 118 PageID #: 18100




                                 of all victims and their family members, as well as all minors named
                                 in said files and their family members) and unredacted form;

                 (e)     All Documents necessary to secure the benefit of any insurance rights;

                 (f)     All of the following categories of Documents to the extent they are in
                         possession of Ogletree Deakins and maintained in electronic form:

                         (i)     Documents regarding the registration of all identified alleged
                                 perpetrators in identified in a Proof of Claim;

                         (ii)    Each yearly version of the Youth Protection Guidelines and the
                                 equivalent;

                         (iii)   Each version of the Procedures for Maintaining Standards of
                                 Leadership and the equivalent;

                         (iv)    Each version of the Scoutmaster Handbook, Boy Scout Handbook
                                 Cub Scout Handbook, and similar Handbooks;

                         (v)     (DFKYHUVLRQRI³+RZWR3URWHFW<RXU&KLOGUHQIURP&KLOG$EXVH´
                                 and the equivalent;

                         (vi)    Each version of the Procedures for Ineligible Volunteer File
                                 Deskbook and the equivalent;

                         (vii)   Each version of Standard Local Articles of Incorporation and the
                                 equivalent;

                         (viii) Each version of the Standard Charter Agreement between a Local
                                Council and a Charter Organization and the equivalent;

                         (ix)    Each version of BSA Rules and Regulations and the equivalent;

                         (x)     All Rosters,

                         Provided, however, that to the extent Ogletree Deakins does not have any
                         of the categories of Documents referenced in Section 1(f), the Settlement
                         Trustee may request such Documents from Reorganized BSA on an as-
                         needed basis.

         2.      Production of Documents by Local Councils.

                  On or before the Effective Date of the Plan, and as a condition to the Effective Date
  of the Plan, all Local Councils shall provide the following Documents to the Settlement Trustee
  (to the extent that such Documents are not produced by Debtors or Reorganized BSA, including
  pursuant to the Paragraph 1(a) above):




                                                   2
                                                EXHIBIT 6                                        Page 2 of 2
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 33 of 118 PageID #: 18101




                                EXHIBIT 7
           Case: 23-1664 Document
Case 1:22-cv-01237-RGA    Document:
                                  22488 Filed
                                           Page: 1
                                              08/18/23Date
                                                       PageFiled: 08/18/2023
                                                              34 of 118 PageID #: 18102




          UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                    CCO-112

      Nos. 23-1664, 23-1665, 23-1666, 23-1667, 23-1668, 23-1669, 23-1670, 23-1671,
       23-1672, 23-1673, 23-1674, 23-1675, 23-1676, 23-1677, 23-1678, & 23-1780


                  In re: Boy Scouts of America and Delaware BSA LLC

                                  Lujan Claimants,
                               Appellants is No. 23-1664
                 Liberty Mutual Insurance Company, The Ohio Casualty
              Insurance Company, Liberty Insurance Underwriters, Inc., and
                         Liberty Surplus Insurance Corporation,
                               Appellants in No. 23-1665
                                   D&V Claimants,
                               Appellants in No. 23-1666
               The Continental Insurance Company and Columbia Casualty
                                       Company,
                               Appellants in No. 23-1667
              National Union Fire Insurance Co. of Pittsburgh Pennsylvania,
              Lexington Insurance Company, Landmark Insurance Company,
                and The Insurance Company of the State of Pennsylvania,
                               Appellants in No. 23-1668
                           Indian Harbor Insurance Company,
                                Appellant in No. 23-1669
                         Old Republic General Insurance Group,
                               Appellant in No. 23-1670
              Travelers Casualty and Surety Company, Inc., St. Paul Surplus
                Lines Insurance Company, and Gulf Insurance Company,
                               Appellants in No. 23-1671
              Great American Assurance Company and Great American E&S
                                 Insurance Company
                              Appellants in No. 23-1672
               Allianz Global Risks US Insurance Company, National Surety
                   Corporation, and Interstate Fire & Casualty Company,
                                Appellants in No. 23-1673




                                       EXHIBIT 7                                 Page 1 of 2
           Case: 23-1664 Document
Case 1:22-cv-01237-RGA    Document:
                                  22488 Filed
                                           Page: 2
                                              08/18/23Date
                                                       PageFiled: 08/18/2023
                                                              35 of 118 PageID #: 18103




               Argonaut Insurance Company and Colony Insurance Company
                                Appellants in No. 23-1674
                               Gemini Insurance Company,
                                Appellant in No. 23-1675
                             General Star Indemnity Company,
                                Appellant in No. 23-1676
                              Arrowood Indemnity Company,
                                 Appellant in No. 23-1677
               Traders and Pacific Insurance Company, Endurance American
                  Specialty Insurance Company, and Endurance American
                                    Insurance Company
                                 Appellants in No. 23-1678
                                    Arch Insurance Company,
                                    Appellant in No. 23-1780

                               (D. Del. No. 1-22-cv-01237)

  Present: SHWARTZ and MATEY, Circuit Judges

        1. Renewed Motion by D&V Claimants (Appellants in No. 23-1666) to Stay
           Confirmation Order and Motion to Stay Appeals
        2. Renewed Motion by Lujan Claimants (Appellants in No. 23-1664) to Stay
           Confirmation Order and Motion to Stay Appeals
                                                         Respectfully,
                                                         Clerk

                                            ORDER

        The foregoing motions are denied without prejudice to filing renewed stay
  motions in the district court. Cf. Fed. R. App. P. 8(a).

                                                         By the Court,

                                                         s/ Patty Shwartz
                                                         Circuit Judge

  Dated: August 18, 2023
  kr/sb cc: All Counsel of Record




                                           EXHIBIT 7                                Page 2 of 2
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 36 of 118 PageID #: 18104




                                EXHIBIT 8
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 1
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              37 of 118 PageID #: 18105



                                           


            United States Court of Appeals
                                       for the

                             Third Circuit
                                 Case No. 23-1666
            BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC,
                                                                     Debtors.
                           _____________________________
                       DUMAS & VAUGHN CLAIMANTS,
                                                                 Appellants,
                                  – v. –
                       BOY SCOUTS OF AMERICA, et al.,
                                                                   Appellees.
                           _____________________________

             ON APPEAL FROM ORDER DATED MARCH 28, 2023,
            ENTERED BY THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE,
                        CASE 22 CV-01237 (RGA)1



               OPENING BRIEF OF THE DUMAS & VAUGHN
                            CLAIMANTS
                                               
        
        
        

                                 
        1Case number 22-cv-01237 (RGA) is a consolidated case
        including District Court cases 22-cv-01237, 22-cv-01238, 22-
        cv-01239, 22-cv-01240, 22-cv-01241, 22-cv-01242, 22-cv-
        01243, 22-cv-01244, 22-cv-01245, 22-cv-01246, 22-cv-01247,
        22-cv-01249, 22-cv-01250, 22-cv-01251, 22-cv-01252, 22-cv-
        01258, and 22-cv-01263. The Dumas & Vaughn Claimants’
        appeal is docketed in the District Court at 22-cv-01249.
                                     EXHIBIT 8                               Page 1 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 2
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              38 of 118 PageID #: 18106




        Gilion C. Dumas
        DUMAS & VAUGHN, LLC
        3835 NE Hancock Street, Suite GLB
        Portland, OR 97212
        Telephone: (503) 616-5007
        Email: gilion@dumasandvaughn.com

        Charles J. Brown, III, Esquire
        GELLERT SCALI BUSENKELL & BROWN LLC
        1201 N. Orange Street, 3rd Floor
        Wilmington, DE 19801
        Telephone: (302) 425-5813
        Email: cbrown@gsbblaw.com




                                      EXHIBIT 8                               Page 2 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 3
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              39 of 118 PageID #: 18107




                                TABLE OF CONTENTS

  I.         INTRODUCTION                                                         1

  II.        STATEMENT OF JURISDICTION                                            5

  III. STATEMENT OF THE ISSUES                                                    6

  IV. STATEMENT OF RELATED CASES AND PROCEEDINGS                                  7

  V.         STATEMENT OF THE CASE                                                7

        A.    Relevant Facts                                                      7

        B.    Procedural History                                                  9

        C.    Rulings Presented for Review                                      10

  VI. ARGUMENT                                                                  10

        A.    Summary of Argument                                               10

               1. Third Circuit Cases Preclude Nondebtor Releases and
                   Injunctions                                                   10

               2. The Bankruptcy Court Lacked Jurisdiction Over Direct
                   Third-Party Claims Against Nondebtors                         11

               3. There is no Statutory Authority for the Releases and
                   Injunctions                                                   12

               4. The Nondebtor Releases and Injunctions are Improper in
                   this Case                                              13

               5. The Plan Treats Abuse Claimants Unfairly Compared to
                   Future Claimants                                              14



                                          i 8
                                      EXHIBIT                                 Page 3 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 4
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              40 of 118 PageID #: 18108




     B.    Standard of Review                                                   14

     C.    Argument                                                             15

            1. Third Circuit Law Precludes Nondebtor Releases                   15

            2. The Bankruptcy Court did Not Have Jurisdiction Over
                Direct Third-Party Claims Against Nondebtors                     21

                  a. No “Arising Under” or “Arising In” Jurisdiction            21

                  b. No “Related to” Jurisdiction                               23

                        i. The Claims at Issue are Direct, Not Derivative 24

                        ii. No Automatic Right to Indemnity Exists              26

                        iii.The Operation of Scouting Does Not Create
                             Automatic Liability for BSA                         27

                        iv.Impact on Property, Primarily Shared
                            Insurance, Did Not Confer Jurisdiction               31

            3. There is No Statutory Authority for Nonconsensual
                Nondebtor Releases and Injunctions                               33

                  a. Nonconsensual Releases are Contrary to the
                      Bankruptcy Code                                            34

                        i. Section 105(a)                                       34

                        ii. Section 1123(a)(5)                                  36

                        iii.Section 1123(b)(6)                                  37

                  b. Statutory Silence is Not Authority                         38

                  c. Releases are Contrary to Third Circuit Cases
                      Interpreting the Code                                      40

                                          ii
                                      EXHIBIT 8                               Page 4 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 5
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              41 of 118 PageID #: 18109




                  d. U.S. Supreme Court Cases Limit the Equitable
                      Power of Bankruptcy Courts                                 42

                  e. Bankruptcy Courts Have No General “Legal”
                      Authority and Releases are a Legal Remedy                  44

                  f. Conclusion Regarding Statutory Authority                   48

            4. The Bankruptcy Court Erred in Applying “Guidelines”
                to Grant Nondebtor Releases                                      49

                  a. It was Error to Apply Federal Common Law to
                      State Law Tort Claims                                      49

                  b. It was Legal Error to Conclude the Releases Meet
                      Federal Law Guidelines                                     53

                        i. Hallmarks                                            54

                        ii. Master Mortgage Factors                             58

            5. The Plan Treats Current Claimants Unfairly Compared
                to Future Claimants                                              68

  VII. CONCLUSION                                                               69




                                          iii
                                      EXHIBIT 8                               Page 5 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 6
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              42 of 118 PageID #: 18110




                                   TABLE OF AUTHORITIES
  

  Cases

  Archer v. Warner,
      538 U.S. 314 (2003) ............................................................................... 38

  Block v. Potter,
      631 F.2d 233 (3d Cir. 1980) ............................................................. 14, 53

  Czyzewski v. Jevic Holdings Corp.,
      137 S. Ct. 973 (2017) ................................................................. 39, 43, 44

  Erie v. Tompkins,
      304 U.S. 64 (1938) ................................................... 13, 49, 50, 51, 52, 53

  In re A.H Robins Co.,
      880 F.2d 694 (4th Cir. 1989) ........................................................... 40, 60

  In re American Family Enters.,
      256 B.R. 377 (D. N.J. 2000) ................................................................... 60

  In re AOV Indus., Inc.
      792 F.2d 1140 (D.C. Cir. 1986) ............................................................. 60

  In re Boy Scouts of America and Delaware BSA, LLC.,
      642 B.R. 504 (Bankr. D. Del. 2022) .. .1, 2, 3, 6, 8, 12, 19, 20, 21, 28, 30,
      31, 33, 34, 38, 44, 46, 55, 60, 61, 62, 63, 64, 65

  In re BSA,
      650 B.R. 87 (Del. D. 2023) ............................................................... 10, 34

  In re Combustion Engineering,
      391 F.3d 190 (3d Cir. 2004) .... ..10, 12, 15, 23, 24, 26, 28, 30, 32, 35, 37,
      40, 44, 46

  ///


                                                    iv 8
                                                 EXHIBIT                                            Page 6 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 7
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              43 of 118 PageID #: 18111




  In re Continental Airlines,
    203 F.3d 203 (3d. Cir 2000) ..................................... 16, 17, 32, 41, 53, 54

  In re Essar Steel Minnesota LLC,
    47 F.4th 193 (3d Cir. 2022) ................................................................... 22

  In re Fed.-Mogul Glob. Inc.,
    402 B.R. 625 (D. Del. 2009) ................................................................... 15

  In re Fed.-Mogul Glob. Inc.,
    300 F.3d 382 (3d Cir. 2002)).................................................................. 26

  In re Heron, Burchette, Ruckert & Rothwell,
    148 B.R. 660 (Bankr. D.D.C. 1992) ....................................................... 60

  In re Highland Capital Mgmt., L.P.,
    48 F.4th 419 (5th Cir. 2022) .................................................................. 35

  In re Lowenschuss,
    67 F.3d 1394 (9th Cir. 1995) ................................................................. 35

  In re LTL Mgmt., LLC,
    64 F.4th 84 (3d Cir. 2023) .. 11, 14, 17, 18, 20, 21, 28, 39, 41, 53, 56, 57,
    65

  In re Pacific Lumber Co.,
    584 F.3d 229 (5th Cir. 2009) ................................................................. 35

  In re USA Gymnastics,
    Case No. 18-09108 [D.I. 1776] (Bankr. S.D. Ind. Dec. 16, 2021) ......... 60

  In re USN Communications, Inc.,
    280 B.R. 573 (Bankr. D. Del. 2002) ...................................................... 46

  In re W. Real Estate Fund,
    922 F.2d 592 (10th Cir. 1990) ............................................................... 35

  ///
                                                   v
                                             EXHIBIT 8                                        Page 7 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 8
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              44 of 118 PageID #: 18112




  In re W.R. Grace & Co.,
    591 F.3d 164 (3d Cir. 2009) ............................................................. 26, 27

  In re W.R. Grace & Co.,
    900 F.3d 126 (3d Cir. 2018) ............................................................. 23, 24

  In re Wool Growers Cent. Storage Co.,
    371 B.R. 768 (Bankr. N.D. Tex. 2007) .................................................. 59

  Law v. Siegel,
    571 U.S. 415 (2014) ................................................................... 42, 43, 44

  Marshall v. Marshall,
    547 U.S. 293 (2006) ............................................................................... 49

  Master Mortgage Investment Fund, Inc.,
    168 B.R. 930 (Bankr. W.D. Mo. 1994) .......................... 54, 58, 59, 60, 62

  Millennium Lab Holdings II, LLC.,
    945 F.3d 126 (3d Cir. 2019) ....................................................... 22, 41, 60

  Northwest Bank Worthington v. Ahlers,
    485 U.S. 197 (1988) ............................................................................... 44

  Pacor, Inc. v. Higgins,
    743 F.2d 984 (3d Cir. 1984) ................................................................... 24

  Purdue Pharma, L.P. v. City of Grande Prairie,
    69 F.4th 45 (2d Cir. 2023) ................................................................. 7, 47

  RadLAX Gateway Hotel, LLC v. Amalgamated Bank,
    566 U.S. 639 (2012) ............................................................................... 39

  Raleigh v. Ill. Dep’t of Revenue,
    530 U.S. 15 (2000) ................................................................................. 49

  Stern v. Marshall,
    564 U.S. 462 (2011) ......................................................................... 42, 44
                                                    vi
                                               EXHIBIT 8                                           Page 8 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 9
                                              08/18/23Date
                                                       PageFiled: 07/24/2023
                                                              45 of 118 PageID #: 18113




  Statutes

  11 U.S.C. § 105(a) ......................... 11, 15, 34, 35, 37, 40, 42, 44, 45, 47, 48

  11 U.S.C. § 524(e) ............................................................................... 12, 35

  11 U.S.C. § 1123(a)(5) ............................................................ 34, 36, 37, 48

  11 U.S.C. § 1123(b)(6) ...................................................... 34, 36, 37, 38, 48

  11 U.S.C. § 1334(a) ..................................................................................... 5

  11 U.S.C. § 1334(b)(2)(L) .......................................................................... 22

  28 U.S.C. § 157(b)(2)(L) ............................................................................ 21

  28 U.S.C. § 158(a)(1) .................................................................................. 5

  28 U.S.C. § 158(d)(1) .................................................................................. 5

  28 U.S.C. § 2072 ................................................................................. 49, 51

  Other Authorities

  8 Collier on Bankruptcy, 1141.02 (16th ed. 2021) .................................. 46

  Amici Curiae Brief of Bankruptcy Law Professors Ralph Brubaker,
   George W. Kuney, and Bruce Markell in Support of Appellees, filed
   March 18, 2022, In re Purdue Pharma, Second Cir. Case No. 22-110,
   ECF No. 603 at 8 ................................................................................... 51

  Brubaker, Ralph, Mandatory Aggregation of Mass Tort Liability in
   Bankruptcy, 131 Yale L.J.F. 960, 973 (2022)....................................... 52

  Hill, Alfred, The Erie Doctrine in Bankruptcy, 66 Harv. L. Rev. 1013
   (1953) ...................................................................................................... 49

                                                        vii
                                                   EXHIBIT 8                                              Page 9 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  10
                                            08/18/23 Date
                                                      PageFiled:
                                                            46 of07/24/2023
                                                                  118 PageID #: 18114




  Levitin, Adam J., The Constitutional Problem of Nondebtor Releases in
   Bankruptcy, 91 Fordham L. Rev. 429, 440 (2022) ............................... 45

  Tabb, Charles Jordan, The Historical Evolution of the Bankruptcy
   Discharge, 65 Am. Bankr. L.J. 325 (1991) ........................................... 52




                                            viii
                                        EXHIBIT 8                                 Page 10 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  11
                                            08/18/23 Date
                                                      PageFiled:
                                                            47 of07/24/2023
                                                                  118 PageID #: 18115




                        STATEMENTS & SUMMARIES

                           I.     INTRODUCTION

        This is an appeal from confirmation of a Chapter 11 bankruptcy

  plan for the Boy Scouts of America (“BSA”). D&V Claimants are 69

  victims of Scouting-related sexual abuse who filed bankruptcy Proofs of

  Claim and voted against confirmation. The bankruptcy court issued an

  Opinion confirming the plan on July 29, 2022, and final Order on

  September 8, 2022. The district court affirmed confirmation on March

  28, 2023. This appeal followed. D&V Claimants ask this Court to

  reverse the decision of the district court and hold that a bankruptcy

  court does not have authority to impose nonconsensual third-party

  releases of direct claims against nondebtors.

        BSA filed for bankruptcy because it faced hundreds of sexual

  abuse claims by people sexually abused in Scouting. These claims

  “detail horrific allegations ranging from harassment to inappropriate

  touching to penetration.” In re Boy Scouts of America and Delaware

  BSA, LLC., 642 B.R. 504, 525 (Bankr. D. Del. 2022) (“BSA”). BSA had

  documented the problem of sexual abuse in Scouting since at least the

  1920s in its own “Ineligible Volunteer” files on adult volunteers kicked


                                       1 8
                                     EXHIBIT                               Page 11 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  12
                                            08/18/23 Date
                                                      PageFiled:
                                                            48 of07/24/2023
                                                                  118 PageID #: 18116




  out of Scouting for molesting children. A26410-15, A26429-45 (sample

  I.V. File and Complaint describing same).

        This plan creates a comprehensive framework for resolving and

  paying claims of BSA’s creditors. But the plan also releases claims

  against over 300,000 Chartered Organizations2 (sponsors of Scout

  troops and other Scout units), Local Councils (separate entities that

  administer the Scouting program), their representatives, insurers, and

  other nondebtors from all civil Scouting-related sexual abuse lawsuits,

  and channel those claims into the post-bankruptcy Settlement Trust.

  BSA, 642 B.R. at 586 (the “nonconsensual third-party releases” run “in

  favor of the Settling Insurance Companies, Local Councils, Chartered

  Organizations and their Representatives.”). The releases expressly

  cover claims for fraud and malicious conduct (the basis for punitive

  damages), which would not be discharged in individuals’ own

  bankruptcies. A00867-68 (Plan definition of “Abuse Claim”); A00980-82

  (Channeling Injunction provision). The releases expressly “discharge”

  nondebtor Local Councils and Chartered Organizations, precluding


                           
        2  A 4,808-page list of over 310,000 Chartered Organizations is
  found in the listed “Documents” on the Omni docket at
  https://cases.omniagentsolutions.com/?clientId=3552.
                                         2
                                    EXHIBIT 8                             Page 12 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  13
                                            08/18/23 Date
                                                      PageFiled:
                                                            49 of07/24/2023
                                                                  118 PageID #: 18117




  D&V Claimants from seeking state law remedies against these

  nondebtors. A00991-92 (Plan at Art. X.J.3 (“ ...all holders of Abuse

  Claims shall ... forever discharge and release [released parties].”

  Emphasis added.)).

        The D&V Claimants all have direct liability claims against

  nondebtor Local Councils and most have direct claims against a

  Chartered Organization. Almost all of the 69 have filed or are in the

  process of filing lawsuits in state court to preserve those claims.3 These

  lawsuits allege claims for negligence, fraud, constructive fraud,

  vicarious liability for intentional torts, and punitive damages for willful

  and malicious conduct. These lawsuits have been stayed because of

  BSA’s bankruptcy. The plan makes that injunction permanent.

        In exchange for these releases, the released nondebtors will

  provide shockingly little to the abuse claimants forced to give up their

  direct claims. Over 300,000 Chartered Organizations released under

  the plan are paying no money, regardless of their own assets.4 Many


                           
        3   See, e.g. A26327-449, A26508-850 (sample Proofs of Claim, JTX
  14-47925, 14-44934, 14-44159, 14-17941, 14-14993.)
       4 The United Methodist Entities are the only “Contributing

  Charter Organizations” and are paying $30 million to the Settlement
  Trust. BSA, 642 B.R. at 539.
                                         3
                                    EXHIBIT 8                             Page 13 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  14
                                            08/18/23 Date
                                                      PageFiled:
                                                            50 of07/24/2023
                                                                  118 PageID #: 18118




  Chartered Organizations – including the Baptist Church, Church of

  Jesus Christ of the Latter-Day Saints, Elks, and Kiwanis – no doubt

  have substantial assets of their own. See, A20917 (Disclosure

  Statement, list of Most Common Chartered Organizations). But there

  was no evidence about their assets.

        Likewise, the aggregate contribution of $665 million from Local

  Councils is unreasonable given their liability exposure and the

  substantial assets of these nondebtors. Local Councils have, in the

  aggregate, $3.3 billion in total net assets and $1,870,754,935 in

  unrestricted net assets. A20845, A20924 (Disclosure Statement). Their

  payment to the Settlement Trust of $665 is only 19.8 percent of their

  net assets.

        The released Chartered Organizations and Local Councils will get

  benefits available only to bankruptcy debtors without requiring them to

  satisfy the obligations the Bankruptcy Code imposes. These nondebtors

  can ignore the Code’s financial disclosure requirements, not turn over

  their assets to the court, and pay their own creditors far less than

  debtors in a bankruptcy would have to pay. Individuals covered by the

  releases are released from nondischargeable liability for fraud and


                                         4
                                    EXHIBIT 8                             Page 14 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  15
                                            08/18/23 Date
                                                      PageFiled:
                                                            51 of07/24/2023
                                                                  118 PageID #: 18119




  other willful and malicious conduct, including claims for punitive

  damages. These nondebtors made no showing that they are in financial

  distress to meet the good faith requirement to file their own

  bankruptcies. Allowing them the benefits of bankruptcy releases

  without such a showing abuses Chapter 11 protections.

        D&V Claimants objected to the plan, appealed to the district

  court, and filed this appeal because the nonconsensual third-party

  releases and channeling injunctions run afoul of Third Circuit

  precedent; the bankruptcy court did not have jurisdiction to grant these

  releases; the Bankruptcy Code does not authorize them; and, even

  assuming the releases and injunctions are authorized, they do not meet

  the standards of Third Circuit caselaw. Confirmation should be

  reversed.

                 II.     STATEMENT OF JURISDICTION

        The bankruptcy court had subject matter jurisdiction over the

  bankruptcy under 11 U.S.C. § 1334(a). The district court had

  jurisdiction under 28 U.S.C. § 158(a)(1). This Court has jurisdiction

  under 28 U.S.C. § 158(d)(1).

  ///


                                         5
                                    EXHIBIT 8                             Page 15 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  16
                                            08/18/23 Date
                                                      PageFiled:
                                                            52 of07/24/2023
                                                                  118 PageID #: 18120




                  III.    STATEMENT OF THE ISSUES

        D&V Claimants objected on these issues. A07985-8017, A09028-

  44 (Objections to the Disclosure Statement); A10769-83 (Objections to

  Confirmation); A05994-6039 (confirmation hearing).

        A.   Did the bankruptcy court have jurisdiction over third-party

              claims against nondebtor Local Councils and Chartered

              Organizations such that the court could order those claims

              released and channeled to the Settlement Trust? BSA, 642

              B.R. at 588-94.

        B.   Does the Bankruptcy Code authorize the release and

              injunction of third-party claims against nondebtors outside

              of asbestos cases? Id. at 594-95.

        C.   Even assuming the bankruptcy court had jurisdiction and

              statutory authority, do the third-party releases and

              injunctions meet the standards courts in this Circuit have

              used? Id. at 595-619.

        D.   Does the plan treat current sex abuse claimants fairly and

              equitably compared to Future Claimants? Id. at 629.

  ///


                                         6
                                    EXHIBIT 8                             Page 16 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  17
                                            08/18/23 Date
                                                      PageFiled:
                                                            53 of07/24/2023
                                                                  118 PageID #: 18121




  IV.         STATEMENT OF RELATED CASES AND PROCEEDINGS

         This case is consolidated with appeals of Lujan Claimants and

  “Certain Insurers” that objected to confirmation: Cases 23-1664, 23-

  1665, 23-1667, 23-1668, 23-1669, 23-1670, 23-1671, 23-1672, 23-1673,

  23-1674, 23-1675, 23-1676, 23-1677, and 23-1678. Purdue Pharma, L.P.

  v. City of Grande Prairie (In re Pharma L.P.), 69 F.4th 45 (2d Cir.

  2023), raises similar issues. The US Trustee filed a Motion to Stay in

  anticipation of a Petition for Writ of Certiorari in that case. Second

  Circuit No. 22-220 (D.I. 1012).

                    V.      STATEMENT OF THE CASE

         A.    Relevant Facts

         BSA filed for Chapter 11 bankruptcy on February 19, 2020. After

  a contested trial, the bankruptcy court confirmed a reorganization plan

  in an Opinion (July 29, 2022) and Order (September 8, 2022). The plan

  requires victims of Scouting-related sexual abuse to release all claims

  against over 300,000 nondebtor third-party Local Councils and

  Chartered Organizations and related individuals. These third-party

  claims are channeled into the Settlement Trust, where they are

  consolidated with claims against BSA. As the bankruptcy court noted,


                                         7
                                    EXHIBIT 8                             Page 17 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  18
                                            08/18/23 Date
                                                      PageFiled:
                                                            54 of07/24/2023
                                                                  118 PageID #: 18122




  the “Scouting-Related Releases are nonconsensual” because there is no

  right to opt out of the abuse releases and channeling injunctions in

  Articles X.J.3 and X.F. BSA, 642 B.R. at 586. D&V Claimants, who

  objected to and voted against the plan, did not consent and could not opt

  out. Forcing objectors to release state law tort claims and give up rights

  associated with litigating such claims, over their objection and based on

  the consent of plan supporters, raises serious due process concerns.

        D&V Claimants opposed confirmation because the third-party

  releases are at odds with Third Circuit precedent; the bankruptcy court

  lacked jurisdiction over third-party claims against nondebtors; there is

  no statutory authority for the releases; and they are grossly unfair to

  objecting abuse claimants. Chartered Organizations are paying no

  money to the Settlement Trust and only gave up rights as additional or

  named insurers on BSA policies. Local Councils likewise did not give

  reasonable consideration in exchange for the releases, given their

  assets. Further, an abuse claimant will not be compensated through

  the Settlement Trust for the released claims because each “Abuse

  Claim” is treated as a single claim against BSA, a Local Council, and a

  Chartered Organization, with no assessment of liability among the


                                         8
                                    EXHIBIT 8                             Page 18 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  19
                                            08/18/23 Date
                                                      PageFiled:
                                                            55 of07/24/2023
                                                                  118 PageID #: 18123




  three entities. Claimants with separate, direct claims against Local

  Councils and/or Chartered Organizations receive the same as claimants

  with claims only against BSA.

        The plan is funded by payments to a Settlement Trust from BSA,

  Local Councils as a group, Settling Insurers, and the United Methodist

  Entities. Over time, there will be approximately $2.4 billion in the

  Settlement Trust and estimated administrative costs of ten percent,

  leaving approximately $2.2 billion to pay abuse claimants. With over

  82,000 Direct Abuse Claimants, simple math makes the average

  payment less than $27,000. In contrast, the simple average of

  settlement payments BSA made to abuse survivors in the years before

  filing for bankruptcy was $649,521. A26216-18 (historic settlement

  spreadsheet).

        B .   Procedural History

        BSA filed for bankruptcy on February 19, 2020. No Local Council

  has filed for bankruptcy. No Chartered Organization is a debtor in this

  bankruptcy, although some (several Catholic entities for example) have

  filed their own bankruptcies. After a contested trial, the bankruptcy

  court confirmed a reorganization plan in an Opinion (July 29, 2022) and


                                         9
                                    EXHIBIT 8                             Page 19 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  20
                                            08/18/23 Date
                                                      PageFiled:
                                                            56 of07/24/2023
                                                                  118 PageID #: 18124




  Order (September 8, 2022). D&V Claimants seek reversal of

  confirmation because the plan includes broad releases and channeling

  injunctions for nondebtor, third-party Local Councils and Chartered

  Organizations. On March 28, 2023, the district court issued an Order

  and Opinion affirming confirmation of the plan. In re BSA, 650 B.R. 87

  (Del. D. 2023) (“BSA II”).

        C .   Rulings Presented for Review

        D&V Claimants appeal from the district court’s March 28, 2023,

  Order and Opinion affirming bankruptcy court’s confirmation Order

  and the bankruptcy court’ September 8, 2022, Confirmation Order and

  July 29, 2022, Opinion regarding confirmation.

                               VI.   ARGUMENT

        A.    Summary of Argument

               1.   Third Circuit Cases Preclude Nondebtor Releases and
                     Injunctions

        While this Circuit has never squarely addressed the legality of

  nonconsensual third-party releases, Third Circuit caselaw persuasively

  suggests that such releases are prohibited. In In re Combustion

  Engineering, 391 F.3d 190 (3d Cir. 2004), this Court refused to extend

  the scope of nondebtor releases in an asbestos case beyond the express

                                         10
                                     EXHIBIT 8                            Page 20 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  21
                                            08/18/23 Date
                                                      PageFiled:
                                                            57 of07/24/2023
                                                                  118 PageID #: 18125




  limits of Bankruptcy Code § 524(g). This Court held that the

  bankruptcy court’s equitable powers under § 105(a) did not permit

  third-party releases broader than as specified in § 524(g). Id. at 202.

        This Court’s recent opinion in LTL Management also provides

  guidance, although the case came to the Court on appeal from denial of

  a motion to dismiss. In re LTL Mgmt., LLC, 64 F.4th 84 (3d Cir. 2023).

  That case, most broadly, asked, “who is entitled to use the bankruptcy

  system?” and imposed a good faith requirement that looks to financial

  distress. This Court held that only debtors in financial distress are

  entitled to bankruptcy. Id. at 93, 111. Here, Local Councils and

  Chartered Organizations are not even debtors, and there was no

  showing that any of them are in financial distress. If lack of financial

  distress is grounds to dismiss a putative debtor’s own bankruptcy, then

  lack of financial distress should also preclude the release and discharge

  of nondebtors.

              2.    The Bankruptcy Court Lacked Jurisdiction Over Direct
                     Third-Party Claims Against Nondebtors

        The bankruptcy court did not have jurisdiction over direct (non-

  derivative) third-party claims against nondebtors. Subject matter

  jurisdiction must exist before, and independent of, plan provisions

                                         11
                                    EXHIBIT 8                             Page 21 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  22
                                            08/18/23 Date
                                                      PageFiled:
                                                            58 of07/24/2023
                                                                  118 PageID #: 18126




  seeking to involve nondebtors. Combustion, 391 F.3d at 225. Here, the

  bankruptcy court purported to exercise “arising in” and “related to”

  jurisdiction. BSA, 642 B.R. at 589.

        Third-party claims against nondebtors did not “arise in” this

  bankruptcy. There was also no basis for “related to” jurisdiction over

  direct, independent claims against nondebtor Local Councils and

  Chartered Organizations. Finally, even if the bankruptcy court may

  have had “related to” jurisdiction over certain third-party claims, the

  court did not have jurisdiction over all the claims, making the third-

  party releases impermissibly broad.

              3.    There is no Statutory Authority for the Releases and
                     Injunctions

        The nondebtor, third-party releases and injunctions are not proper

  because there is no authority for nondebtor releases except in asbestos

  bankruptcies. Section 524(e) of the Bankruptcy Code only allows

  “discharge of a debt of the debtor.” 11 U.S.C. § 524(e). This plan goes

  too far in releasing and discharging liability of nondebtors for their own

  debts.

        Nothing in the Bankruptcy Code authorizes such releases.

  Congressional silence on the issue is not authority. General provisions

                                         12
                                    EXHIBIT 8                             Page 22 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  23
                                            08/18/23 Date
                                                      PageFiled:
                                                            59 of07/24/2023
                                                                  118 PageID #: 18127




  regarding a bankruptcy court’s equitable powers are not authority for

  these releases because the court’s equitable powers must be tethered to

  actual authority in the Code. Further, because the releases extinguish

  abuse claimants’ state law claims, they give a legal remedy to the

  released nondebtors, not an equitable remedy. Therefore, they are

  outside any conceivable scope of § 105’s equitable powers. Recent U.S.

  Supreme Court cases, the Constitutional framework for the bankruptcy

  court system, and the Erie doctrine support the conclusion that there is

  no statutory authority for nondebtor releases.

              4.    The Nondebtor Releases and Injunctions are Improper
                     in this Case

        These broad releases and injunctions are unconstitutional because

  they are based on federal caselaw standards and federal courts cannot

  make common law. Further, they do not meet the guidelines of Third

  Circuit cases. The releases are profoundly unfair to abuse claimants

  who are forever barred from suing third-party Local Councils,

  Chartered Organizations, and their representatives for their own,

  independent wrongful conduct, including barring claims for fraud and

  punitive damages. In exchange, abuse claimants will receive no

  additional compensation and will not be paid in full. The bankruptcy

                                         13
                                    EXHIBIT 8                             Page 23 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  24
                                            08/18/23 Date
                                                      PageFiled:
                                                            60 of07/24/2023
                                                                  118 PageID #: 18128




  court’s legal conclusions to the contrary are contradicted by the record

  and inconsistencies in the court’s own findings.

               5.   The Plan Treats Abuse Claimants Unfairly Compared
                     to Future Claimants

        The plan has no deadline for “Future Claimants” (abuse victims

  who were minors or had repressed memories as of the petition date).

  Current claimants, who had to file by the Claims Bar Date, are unfairly

  burdened by having to wait until all future claims are paid, which could

  be many decades, to receive all their compensation under the plan.

        B .   Standard of Review

        This Court gives “fresh (i.e., plenary or de novo) review to a

  conclusion of law and review for clear error findings of fact leading to

  the decision.” LTL Management, 64 F.4th at 99. Basic facts are

  distinguished from an “ultimate fact,” which is a “legal concept with a

  factual component.” Id. at 100 (citations omitted). In reviewing

  ultimate facts, the Court separates “distinct factual and legal elements

  ... and appl[ies] the appropriate standard to each component.” Id.

  When “conclusions [] are but legal inferences from facts” this Court is

  not bound by them. Block v. Potter, 631 F.2d 233, 241 (3d Cir. 1980)



                                         14
                                    EXHIBIT 8                             Page 24 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  25
                                            08/18/23 Date
                                                      PageFiled:
                                                            61 of07/24/2023
                                                                  118 PageID #: 18129




  (internal citation omitted). Jurisdiction is a question of law reviewed de

  novo. In re Fed.-Mogul Glob. Inc., 402 B.R. 625, 630 (D. Del. 2009).

        C .   Argument

               1.   Third Circuit Law Precludes Nondebtor Releases

        While no Third Circuit case is directly on point, caselaw in this

  circuit persuasively suggests that, except in asbestos cases,

  nonconsensual third-party releases of direct claims are prohibited.

        Third-party releases and injunctions outside asbestos cases

  conflict with Combustion. 391 F.3d 190. In Combustion, this Court

  concluded that § 524(g) provides for third-party injunctions in asbestos

  cases in limited circumstances and § 105(a) does not give the

  bankruptcy court equitable power to enter other types of third-party

  injunctions not specifically authorized. 391 F.3d at 236. The Court

  held that § 105(a) does not give a court the power to create “substantive

  rights” (in that case, third-party releases) not otherwise available under

  the Bankruptcy Code. Id. at 202, 236. The Court vacated the

  channeling injunctions. Id. at 238.

        The releases and injunctions here are intended to do the same as

  those in Combustion – enjoin non-derivative claims of third parties on


                                         15
                                    EXHIBIT 8                             Page 25 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  26
                                            08/18/23 Date
                                                      PageFiled:
                                                            62 of07/24/2023
                                                                  118 PageID #: 18130




  the grounds that they were necessary to a successful reorganization

  plan. If a bankruptcy court lacks equitable power to enjoin third-party

  claims in asbestos cases beyond those specified in § 524(g), then the

  same reasoning prohibits third-party releases and injunctions in non-

  asbestos cases where there is no applicable Code provision.

        This circuit’s earlier decision in Continental is consistent with this

  conclusion. In re Continental Airlines, 203 F.3d 203 (3d. Cir 2000). In

  Continental, this Court rejected a reorganization plan that released

  third-party claims against nondebtors and permanently enjoined direct

  actions against them. The Court concluded that the Bankruptcy Code

  “does not explicitly authorize the release and permanent injunction of

  claims against nondebtors, except in one instance not applicable here”

  (asbestos cases). 203 F.3 at 211. This Court did not analyze

  jurisdiction or the statutory authority for non-asbestos third-party

  releases and declined to “establish [its] own rule” regarding such

  releases. Id. at 213-14. This Court noted, “Several of the Bankruptcy

  Courts in our Circuit have stated that non-debtor releases are

  permissible only if consensual, at least with respect to direct (as

  opposed to derivative) claims.” Id. at 214, n. 11 (emphasis added).


                                         16
                                    EXHIBIT 8                             Page 26 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  27
                                            08/18/23 Date
                                                      PageFiled:
                                                            63 of07/24/2023
                                                                  118 PageID #: 18131




  Continental leans strongly against nonconsensual releases for

  nondebtors.

        This Court’s recent ruling in LTL Management, while not

  procedurally on point, is instructive. In that case, this Court began its

  analysis of the “good faith” necessary to file for bankruptcy by stating:

        We start, and stay, with good faith.... What counts to access
        the Bankruptcy Code’s safe harbor is to meet its intended
        purposes. Only a putative debtor in financial distress can do
        so.

  64 F.4th at 93 (noting, “Good intentions ... do not suffice alone.”). The

  Court went on to dismiss a Chapter 11 bankruptcy because the debtor

  LTL Management was not in financial distress. In doing so, the Court

  reviewed the lower courts’ conclusion of financial distress as a mixed

  question of fact and legal conclusion:

        Whether financial distress exists depends on the underlying
        basic facts, such as the debtor’s ability to pay its current
        debts, and inferred facts, such as projections of how much
        pending and future liabilities (like litigation) could cost it in
        the future. But the ultimate determination, like with good
        faith, is essentially a conclusion of law that gets a fresh look.

  Id. The Court discussed the necessity of financial distress as a

  requirement for bankruptcy protection. “[A] valid bankruptcy purpose

  ‘assumes a debtor in financial distress.’” Id. at 101 (internal citation


                                         17
                                    EXHIBIT 8                             Page 27 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  28
                                            08/18/23 Date
                                                      PageFiled:
                                                            64 of07/24/2023
                                                                  118 PageID #: 18132




  omitted). “[A] debtor who does not suffer from financial distress cannot

  demonstrate its chapter 11 petition serves a valid bankruptcy purpose

  supporting good faith.” Id. “The theme is clear: absent financial

  distress, there is no reason for chapter 11 and no valid bankruptcy

  purpose.” Id. Finally:

        Congress designed Chapter 11 to give those businesses
        teetering on the verge of a fatal financial plummet an
        opportunity to reorganize on solid ground and try again, not
        to give profitable enterprises an opportunity to evade
        contractual or other liability.

  Id. at 103.

        In analyzing LTL Management’s financial condition, this Court

  considered the company’s current finances and the immediacy of any

  distress. “[A] debtor’s balance sheet insolvency or insufficient cash

  flows to pay liabilities (or the future likelihood of these issues occurring)

  are likely always relevant.” Id. at 102. Financial distress must be

  immediate enough to justify bankruptcy filing. “[A]n attenuated

  possibility standing alone” that a debtor “may have to file for

  bankruptcy in the future” does not establish good faith. Id. (internal

  citations omitted).




                                         18
                                    EXHIBIT 8                             Page 28 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  29
                                            08/18/23 Date
                                                      PageFiled:
                                                            65 of07/24/2023
                                                                  118 PageID #: 18133




        Local Councils and Chartered Organizations are not even debtors

  in this case, yet they are receiving the benefits of bankruptcy. There

  was no evidence of their balance sheets or cash flows. They made no

  showing that they are in financial distress or that discharge of their

  liability serves a valid bankruptcy purpose. There was no evidence or

  findings about the scope of liabilities each of the released entities face or

  their capacity to meet them, both required to prove financial distress.

  Id. at 104 (“[M]ass tort liability can push a debtor to the brink but to

  measure the debtor’s distance to it, courts must always weigh not just

  the scope of liabilities the debtor faces, but also the capacity it has to

  meet them.” Emphasis added.).

        There was no financial evidence about any of the released

  Chartered Organization (beyond minimal testimony about the

  contributing Methodist group). For example, there was no evidence

  about the balance sheets or cash flow of the LDS Church, even though

  at the time of the confirmation hearing (later withdrawn), the LDS

  Church had agreed to pay $250,000,000 to the Settlement Trust. BSA,

  642 B.R. 537.




                                         19
                                    EXHIBIT 8                             Page 29 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  30
                                            08/18/23 Date
                                                      PageFiled:
                                                            66 of07/24/2023
                                                                  118 PageID #: 18134




        The evidence concerning Local Councils’ finances was sparse and

  did not include balance sheets or cash flows. It consisted only of (1)

  each Local Council’s total net assets and “the raw number of claims

  filed” against it; (2) a “liquidation analysis” purporting to show that the

  Local Council contribution is more than the “aggregated liquidation

  value” of all Local Councils, and (3) testimony that, without Local

  Council releases, “‘significant’ Local Council bankruptcy filings” were

  expected. 642 B.R. at 603-04, 610. The “raw number of claims”

  provides no information about the “scope of liability” of each Local

  Council. Liquidation value in the aggregate was not at issue. The point

  is whether each Local Council was in financial distress so as to justify

  bankruptcy. Liquidation value of each Local Counsil might be relevant

  to separate findings of financial distress, but there was no such

  evidence. Finally, that some unidentified Local Councils could be

  expected to file their own bankruptcies is only an “attenuated

  possibility,” not evidence that any particular Local Council seeking a

  release was “teetering on the verge of a fatal financial plummet.” 64

  F.4th at 102-03. In total, the evidence was no more than the “back-of-




                                         20
                                    EXHIBIT 8                             Page 30 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  31
                                            08/18/23 Date
                                                      PageFiled:
                                                            67 of07/24/2023
                                                                  118 PageID #: 18135




  the-envelope forecasts of hypothetical worst-case scenarios” this Court

  rejected in LTL Management. Id. at 108.

        LTL Management stands for the basic rule that any entity seeking

  the benefits of bankruptcy, include discharge of liabilities, must show it

  is in imminent financial distress that would justify bankruptcy

  protection. None of the Local Councils or Chartered Organizations

  made this showing. Nothing in the record supports the legal conclusion

  that any of these nondebtors were in financial distress or entitled to

  rights afforded bankruptcy debtors. Even plan supporters’ belief that

  this plan “creates the best of all possible worlds” for the abuse

  claimants is not enough to displace “the rule that resort to chapter 11 is

  appropriate only for entities facing financial distress.” Id. at 111.

              2.    The Bankruptcy Court did Not Have Jurisdiction Over
                     Direct Third-Party Claims Against Nondebtors

        This Court reviews the exercise of jurisdiction de novo.

                     a.   No “Arising Under” or “Arising In” Jurisdiction

        Bankruptcy courts have “arising under,” “arising in,” and “related

  to” jurisdiction under 28 U.S.C. § 157 and 11 U.S.C. § 1334.

  Confirmation of a plan is a “core proceeding” that gives a bankruptcy

  court “arising under” and “arising in” jurisdiction. § 157(b)(2)(L),

                                         21
                                    EXHIBIT 8                             Page 31 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  32
                                            08/18/23 Date
                                                      PageFiled:
                                                            68 of07/24/2023
                                                                  118 PageID #: 18136




  § 1334(b)(2)(L); see also, Millennium Lab Holdings II, LLC., 945 F.3d

  126, 137 (3d Cir. 2019), cert. denied, 140 S. Ct. 2805 (2020) (“core

  proceedings” include confirmation). The court found “arising in”

  jurisdiction over the third-party claims because “this is a confirmation

  hearing” which only arises in bankruptcy. 642 B.R. at 589. That

  circular logic misses the point. Confirmation is a core proceeding that

  gave the court jurisdiction over Debtors’ obligations and assets. But the

  court needed a basis for jurisdiction over third-party claims against

  nondebtors before the court considered them.

        Third parties simply do not bring claims against each other in

  other parties’ bankruptcies in the normal course. See, In re Essar Steel

  Minnesota LLC, 47 F.4th 193, 197 (3d Cir. 2022) (“A case ‘arises under’

  [the Code] when the cause of action is based on a right or remedy

  expressly provided by the Bankruptcy Code. Proceedings ‘arising in’ a

  case under [the Code] include matters that, though not explicitly

  mentioned in the Code, would not exist outside of bankruptcy.” Internal

  citations omitted.) The Bankruptcy Code does not provide for litigation

  and adjudication of abuse victims’ direct claims against nondebtors, and

  such claims would exist outside BSA’s bankruptcy, so there is no


                                         22
                                    EXHIBIT 8                             Page 32 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  33
                                            08/18/23 Date
                                                      PageFiled:
                                                            69 of07/24/2023
                                                                  118 PageID #: 18137




  “arising under” or “in” jurisdiction. That plan supporters inserted

  third-party claims into the “core proceeding” of confirming BSA’s plan

  did not give the bankruptcy court jurisdiction. Parties cannot create

  subject matter jurisdiction by agreement. Combustion, 391 F.3d at 228.

        Instead, when it comes to third-party direct claims against

  nondebtors, bankruptcy courts analyze whether they have “related to”

  jurisdiction. See, Combustion, 391 F.3d at 226-33. In Combustion, the

  Third Circuit analyzed and rejected third-party releases in the context

  of “related to” jurisdiction. 391 F.3d at 223-24. This Court did not even

  consider “arising under” or “arising in” jurisdiction.

                     b.   No “Related to” Jurisdiction

        The bankruptcy court did not have “related to” jurisdiction over

  direct claims against nondebtors. The “identity of interest” sufficient to

  create “related to” jurisdiction does not exist. This Circuit requires an

  identity of interest sufficient to create derivative or otherwise automatic

  liability for the debtor. See, e.g., In re W.R. Grace & Co., 900 F.3d 126

  (3d Cir. 2018) (“Grace II”) (explaining, in the context of a § 524(g)

  asbestos case, how narrow derivative liability is). Automatic liability

  for non-derivative claims depends on an established right to indemnity,


                                         23
                                    EXHIBIT 8                             Page 33 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  34
                                            08/18/23 Date
                                                      PageFiled:
                                                            70 of07/24/2023
                                                                  118 PageID #: 18138




  as with a judgment in an indemnity action or a contract for indemnity.

  Combustion, 391 F.3d at 226 (there is no “related to” jurisdiction over

  civil actions between nondebtors if such a lawsuit would be a “mere

  precursor” to a potential claim against a debtor; quoting Pacor, Inc. v.

  Higgins, 743 F.2d 984, 995 (3d Cir. 1984)).

        There is no automatic liability for direct claims against nondebtor

  Local Councils and Chartered Organizations for their own misconduct.

                         i.     The Claims at Issue are Direct, Not
                                 Derivative

        Third-Party abuse claims against nondebtors are not “derivative.”

  In derivative claims, the claimant steps into the shoes of the debtor in

  suing a third party. Such claims potentially divert assets from the

  bankruptcy estate because any recovery would go to the claimant. At

  the very least, derivative claims “depend on” the liability of the debtor.

  See, Grace II, 900 F.3d at 135-38 (“The proper inquiry is to review the

  law applicable to the claims being raised against the third party (and

  when necessary to interpret state law) to determine whether the third-

  party’s liability is wholly separate from the debtor’s liability or instead

  depends on it.”).



                                         24
                                    EXHIBIT 8                             Page 34 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  35
                                            08/18/23 Date
                                                      PageFiled:
                                                            71 of07/24/2023
                                                                  118 PageID #: 18139




        In contrast, direct abuse claims against Local Councils and

  Chartered Organizations for their own wrongdoing are “wholly

  separate” from, and do not “depend on,” BSA’s liability. These claims

  target nondebtors’ own assets, not assets of the bankruptcy estate.

  Abuse claims against nondebtors can involve “Scout-related abuse” in

  the absence of the liability of BSA. For example, if a Local Council or

  Chartered Organization like the local Elks Lodge had notice that a man

  had molested children, still allowed him to serve as a Scout leader,

  never shared its knowledge with BSA, and the man molested more kids

  on Scout campouts, those claims would be “Scout-related,” direct claims

  against the Local Council or Elks Lodge.

        The releases specifically cover direct claims. See, e.g., A00991-92

  (Art. X.J.3 Abuse Claim release covers all claims “derivative or direct”);

  A00980-82 (Channeling Injunction enjoins abuse claimants “from

  taking any action for the purpose of directly, indirectly, or derivatively”

  pursuing claims against releasees); A00867-68 (defining “Abuse Claim”

  as any claim that “directly, indirectly, or derivatively, alleged Scouting-

  related Abuse”). The releases are impermissibly broad because the




                                         25
                                    EXHIBIT 8                             Page 35 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  36
                                            08/18/23 Date
                                                      PageFiled:
                                                            72 of07/24/2023
                                                                  118 PageID #: 18140




  court erroneously exercised “related to” jurisdiction over direct claims

  involving third parties’ independent, direct liability.

                         ii.    No Automatic Right to Indemnity Exists

        Second, BSA is not automatically required to indemnify Local

  Councils or Chartered Organizations for pre-petition sexual abuse

  claims. While certain organizations filed indemnity claims in the

  bankruptcy, no pre-petition indemnity judgments exist. Claims against

  nondebtors are only “related to” a bankruptcy case where an action

  against the nondebtor would “affect the bankruptcy [] without the

  intervention of yet another lawsuit.” In re W.R. Grace & Co., 591 F.3d

  164, 173 (3d Cir. 2009), cert. denied, 562 U.S. 839 (2010) (“Grace I”)

  (citing Fed.-Mogul, 300 F.3d at 382; Combustion, 391 F.3d at 232).

        The only indemnity contracts in evidence post-date BSA’s

  bankruptcy filing. These are the 2020 and 2021 annual Chartering

  Agreements between Chartered Organizations and Local Councils.

  A23284-85, A23310-11 (the Local Council agrees to “[i]ndemnify the

  Chartered Organization”). By their terms, these agreements do not

  create an indemnity right against BSA. Even if they did, BSA cannot

  benefit certain creditors over others by creating post-petition contract


                                         26
                                    EXHIBIT 8                             Page 36 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  37
                                            08/18/23 Date
                                                      PageFiled:
                                                            73 of07/24/2023
                                                                  118 PageID #: 18141




  rights to estate assets. To do so would be a prohibited preferential or

  fraudulent transfer under § 547.

        The bankruptcy court also relied on an October 2013 BSA

  resolution to provide insurance for Scouting activities and indemnity for

  claims “based upon the Corporation’s membership standards.” A23592-

  93 (2013 Resolution, emphasis added). Even if the October 2013

  resolution provided relevant indemnity rights, it would not support

  “related to” jurisdiction over the vast majority of claims that arose

  before those contracts existed, including the claims of D&V Claimants.

        Even these few documents related to indemnity from October 2013

  forward should not be sufficient to give the court “related to”

  jurisdiction, as this Court noted in Grace I. 591 F.3d at 174, n. 9 (“[W]e

  do not mean to imply that contractual indemnity rights are in

  themselves sufficient to bring a dispute over that indemnity within the

  ambit of related-to jurisdiction”.).

                        iii.    The Operation of Scouting Does Not Create
                                 Automatic Liability for BSA

        Likewise, the joint operation of Scouting is not an “identity of

  interests” sufficient to confer jurisdiction. Local Councils are separate

  corporate entities incorporated under the laws of their own states. They

                                         27
                                    EXHIBIT 8                             Page 37 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  38
                                            08/18/23 Date
                                                      PageFiled:
                                                            74 of07/24/2023
                                                                  118 PageID #: 18142




  are “legally independent from the BSA, each with its own officers, board

  of trustees or directors, and management.” A07021 (Debtors’

  Informational Brief). Chartered Organizations are completely separate

  entities, such as churches, civic clubs, educational groups, and

  businesses. See, BSA, 642 B.R. at 523-24. Bankruptcy courts must

  “respect the separateness of legal entities (and their respective assets

  and liabilities).” LTL Management, 64 F.4th at 105. In Combustion,

  this circuit rejected nondebtor releases even though the district court

  had found a “unity of interest” based on “corporate affiliates, shared

  insurance, even joint operations at single sites leading to the asbestos

  personal injury claims at issue” and “ extensive financial inter-

  dependence between the entities.” 391 F.3d at 213.

        Prior to bankruptcy, BSA relied on the “separateness of legal

  entities” to avoid liability for sexual abuse. See, A08220-24

  (Declaration of Nathaniel Marshall). Marshall was the Assistant

  Director of Registration for BSA at the time he testified:

      • The three levels of Scouting are “entirely separate legal entities”

        with a “common goal of youth character development,” but “none

        has control over the other.”


                                         28
                                    EXHIBIT 8                             Page 38 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  39
                                            08/18/23 Date
                                                      PageFiled:
                                                            75 of07/24/2023
                                                                  118 PageID #: 18143




      • “Local community organizations ... actually ‘own’ and operate

        their Boy Scout troops and supervise and control their scouting

        activities.”

      • “[BSA] and the Local Councils do not administer the Scouting

        Program directly but rather offer the program to community

        organizations...”

      • Scout units “are created, organized, supervised and run by

        approximately 1.3 million community volunteers who have

        absolutely no employment or agency relationship with [BSA].”

      • “The sponsoring organization’s troop committee selects the troop

        leaders.... BSA does not supervise or control the manner in which

        the troop committee governs its troop.”

        The Scouting program itself does not cause sexual abuse. That

  BSA delivered the Scouting program through Local Councils and

  Chartered Organization does not make them jointly liable for each

  other’s conduct. The negligence of people at each level of the Scouting

  organization might cause sexual abuse and each organization may be

  separately liable for any particular incident of abuse, depending on the

  facts and applicable state law.


                                         29
                                    EXHIBIT 8                             Page 39 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  40
                                            08/18/23 Date
                                                      PageFiled:
                                                            76 of07/24/2023
                                                                  118 PageID #: 18144




        Having a common interest in the Scouting program and mission is

  not enough to create jurisdiction. There must be factual findings that a

  suit against a nondebtor would deplete the bankruptcy estate or affect

  its administration. Combustion, 391 F.3d at 228. The only findings the

  bankruptcy court made on this issue are:

      • “I conclude that it takes all three constituencies – BSA, Local

        Councils and Chartered Organizations – to deliver the Scouting

        program.” 642 B.R. 589.

      • “As Mr. Desai credibly testified, ‘because of the interconnectedness

        of a local council with the national organization and our local

        chartering partners, we can’t continue to deliver the mission of

        Scouting without them.’” Id. at 590.

  These statements may be accurate, but both are irrelevant to whether

  the released direct claims against nondebtors deplete the estate or

  threaten its administration. There are no dots connecting these

  statements and a conclusion that the claims affect the estate.5

                           
       5 The bankruptcy court apparently recognized that “identity of
  interest” did not give it “related to” jurisdiction over every third-party
  claim. The court excluded pre-1976 claims against Chartered
  Organizations unless covered by policies issued by Settling Insurers.
  That exclusion shows, at a minimum, that the court recognized it did
                                         30
                                    EXHIBIT 8                             Page 40 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  41
                                            08/18/23 Date
                                                      PageFiled:
                                                            77 of07/24/2023
                                                                  118 PageID #: 18145




                        iv.     Impact on Property, Primarily Shared
                                 Insurance, Did Not Confer Jurisdiction

        The bankruptcy court also based “related to” jurisdiction on an

  “impact on property” of the estate, primarily shared insurance. Since

  the 1970s, Local Councils and Chartered Organizations have been

  additional or named insureds on BSA insurance policies. BSA, 642 B.R.

  89-90. In exchange for nondebtor releases, Chartered Organizations

  and Local Councils give up all rights under policies purchased by BSA

  since 1976.

        However, the releases also cover claims against Local Councils

  that pre-date 1976 and shared insurance. Likewise, the releases

  require Chartered Organizations to give up rights to policies they

  purchased for themselves at any time from Settling Insurers. Debtors

  have no ownership interest in these policies and they are not shared

  assets. The court had no jurisdiction over these policies or claims

  covered by them. By excluding pre-1976 claims against Chartered

  Organizations, the bankruptcy court recognized it did not have

  jurisdiction in the absence of shared insurance (although the court


                           
  not have jurisdiction based on “identity of interest” over third-party
  claims against Chartered Organizations.
                                         31
                                    EXHIBIT 8                             Page 41 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  42
                                            08/18/23 Date
                                                      PageFiled:
                                                            78 of07/24/2023
                                                                  118 PageID #: 18146




  made an erroneous exception for claims covered by policies issued by

  Settling Insurers). The court had no jurisdiction over claims covered by

  nondebtors’ own insurance.

        Even the “shared asset” of insurance rights since 1976 is

  insufficient to create “related to” jurisdiction. Shared insurance may

  affect the insurance available to cover third-party claims once BSA has

  its bankruptcy discharge. But shared insurance does not affect the

  liability of nondebtors or their other available assets. Continental, 203

  F.3d at 217 (“[E]ven assuming that the [shared insurance] proceeds are

  property of the estate, this by itself does not justify a permanent

  injunction of Plaintiff’s actions against the insured nondebtor ... as

  necessary for the reorganization.”); See also, Combustion, 391 F.3d at

  233 (it was “doubtful whether shared insurance would be sufficient

  grounds upon which to find related-to jurisdiction over independent

  claims against [nondebtors].”).

        Local Councils (with few exceptions) and Chartered Organizations

  did not pay anything to be included on BSA insurance policies. Now

  they are reaping the enormous benefit of releases for their own

  culpability, including releases for non-dischargeable claims against


                                         32
                                    EXHIBIT 8                             Page 42 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  43
                                            08/18/23 Date
                                                      PageFiled:
                                                            79 of07/24/2023
                                                                  118 PageID #: 18147




  their representatives for willful conduct, fraud, and punitive damages.

  It is “doubtful” that such insurance rights support jurisdiction or

  “justify a permanent injunction” of third-party claims.

        Finally, the bankruptcy court considered BSA’s residual interest

  in Local Councils’ real property as a basis of jurisdiction. 642 B.R. at

  592. The court acknowledged that this residual interest is “subject to

  all superior interests, including the payment of valid claims against the

  Local Council.” Id. Because BSA’s interest in Local Council property is

  only a “residual” interest, only whatever is left after paying claims is

  the total of BSA’s interest. Also, BSA’s residual interest in Local

  Council property cannot be a basis jurisdiction over claims against

  Chartered Organizations, which have nothing to do with Local Council

  property.

        For all these reasons, the bankruptcy court erred in asserting

  jurisdiction over direct claims against nondebtors.

              3.    There is No Statutory Authority for Nonconsensual
                     Nondebtor Releases and Injunctions

        There is no express authority in the Bankruptcy Code for

  nonconsensual third-party releases and channeling injunctions except

  in asbestos cases. § 524(g). Congress passed § 524(g) in 1994 and it is

                                         33
                                    EXHIBIT 8                             Page 43 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  44
                                            08/18/23 Date
                                                      PageFiled:
                                                            80 of07/24/2023
                                                                  118 PageID #: 18148




  expressly limited to asbestos cases. The bankruptcy court erred in

  finding it had “inherent equitable power consistent with §§105(a),

  1123(a) (5) and 1123(b) (6) of the Bankruptcy Code to grant

  nonconsensual third-party releases.” BSA, 642 B.R. at 594; BSA II, 650

  B.R. at 136. This conclusion was erroneous for at least the following

  reasons.

                     a.     Nonconsensual Releases are Contrary to the
                             Bankruptcy Code

        First, as a matter of statutory interpretation, §§ 105(a), 1123(a)(5),

  and (b)(6) of the Code, separately or together, do not give a bankruptcy

  court authority to grant nonconsensual third-party releases and

  injunctions.

                           i.    Section 105(a)

        Section 105(a) of the Bankruptcy Code provides:

        The court may issue any order, process, or judgment that is
        necessary or appropriate to carry out the provisions of this
        title. No provision of this title providing for the raising of an
        issue by a party in interest shall be construed to preclude
        the court from, sua sponte, taking any action or making any
        determination necessary or appropriate to enforce or
        implement court orders or rules, or to prevent an abuse of
        process.




                                         34
                                    EXHIBIT 8                             Page 44 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  45
                                            08/18/23 Date
                                                      PageFiled:
                                                            81 of07/24/2023
                                                                  118 PageID #: 18149




        In Combustion, this Circuit held that § 105(a) did not give a court

  the power to expand the scope of the available releases and injunctions

  because § 105(a) could not create “substantive rights” that are not

  otherwise available under the Code. 391 F.3d at 238 (treating

  nondebtor releases as “substantive rights”). This Court concluded that

  § 105(a) does not “authorize the bankruptcy courts to create substantive

  rights that are otherwise unavailable under applicable law, or

  constitute a roving commission to do equity.” Id. at 236.

        The Fifth, Ninth, and Tenth Circuits rely on § 524(e) to outright

  reject the idea of statutory authority for nondebtor releases in non-

  asbestos cases. See, e.g., In re Highland Capital Mgmt., L.P., 48 F.4th

  419 (5th Cir. 2022) (“Our court along with the Tenth Circuit hold §

  524(e) categorically bars third-party exculpations absent express

  authority in another provision of the Bankruptcy Code.” Citing In re

  Pacific Lumber Co., 584 F.3d 229, 252-3 (5th Cir. 2009)); In re

  Lowenschuss, 67 F.3d 1394, 1401-02 (9th Cir. 1995); In re W. Real

  Estate Fund, 922 F.2d 592, 600 (10th Cir. 1990). These circuits rely on

  § 524(e)’s basic notion that bankruptcy is a system for resolving claims

  between the bankrupt debtor and its creditors.


                                         35
                                    EXHIBIT 8                             Page 45 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  46
                                            08/18/23 Date
                                                      PageFiled:
                                                            82 of07/24/2023
                                                                  118 PageID #: 18150




                         ii.    Section 1123(a)(5)

        Subsections (a) and (b) of 11 U.S.C. § 1123, “Contents of plan,” lay

  out in detail what a reorganization plan must and may contain in order

  to be confirmed. Section 1123(a)(5) provides that a plan must “provide

  adequate means for [its] implementation” and lists possible means.

        Nonconsensual releases for nondebtors and channeling injunctions

  of third-party claims are not on the § 1123(a)(5) list. The bankruptcy

  court concluded that the broad releases were necessary to secure

  settlement money from Local Councils, the United Methodist Entities

  (the only Chartered Organizations to pay money to the Settlement

  Trust), and the Settling Insurers. The other Chartered Organizations

  are getting the same release without paying any money.

        But the fact that Debtors need money from these settling parties

  to fund the plan they want does not mean that § 1123(a)(5) confers on

  Debtors or the released parties the right to force claimants to accept

  these nonconsensual releases. Section 1123(a)(5) cannot create a

  substantive right to discharge and nonconsensual release just because

  the released parties agree, no matter how much they want the releases.




                                         36
                                    EXHIBIT 8                             Page 46 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  47
                                            08/18/23 Date
                                                      PageFiled:
                                                            83 of07/24/2023
                                                                  118 PageID #: 18151




        Section 1123(a)(5) does not authorize a court to confirm a plan not

  otherwise authorized, simply because doing so would ensure funding for

  the plan. There must be independent statutory authority for the court

  to issue the nondebtor releases and injunctions, such that a bankruptcy

  court can enter a “necessary and appropriate” order to secure the

  funding debtors want. There is no such independent authority.

                        iii.    Section 1123(b)(6)

        Section 1123(b)(6) provides that a plan may “include any other

  appropriate provision not inconsistent with the applicable provisions of

  this title.” This is substantively analogous to § 105(a)’s authorization of

  “any order, process, or judgment that is necessary or appropriate to

  carry out the provisions of this title.” Just as § 105(a) does not confer

  any substantive authority on a bankruptcy court – Combustion, 391

  F.3d at 238 – neither does § 1123(b).

        Further, § 1123(b) does not authorize the nonconsensual releases

  of Local Councils and Chartered Organizations because they are

  inconsistent with the Code. They are inconsistent with § 523(a), which

  prohibits discharge of claims against individuals for fraud and willful

  and malicious conduct. Congress intended that the Code “ensure that


                                         37
                                    EXHIBIT 8                             Page 47 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  48
                                            08/18/23 Date
                                                      PageFiled:
                                                            84 of07/24/2023
                                                                  118 PageID #: 18152




  all debts arising out of fraud are excepted from discharge no matter

  what their form.” Archer v. Warner, 538 U.S. 314, 321 (2003) (internal

  citation omitted). Here, “Abuse Claim” includes any claim “that seeks

  monetary damages or other relief, under any theory of law or equity

  whatsoever,” specifically including fraud, willful misconduct, and “any

  theory based on or related to public policy” which includes claims for

  punitive damages. A00867-68. The releases expressly include fraud

  claims against individual representatives of released nondebtors.

  A00980-82.

        D&V Claimants filed lawsuits against Local Councils and

  Chartered Organizations asserting direct claims for their own fraud, as

  well as punitive damages claims for willful and malicious conduct.

  Because release of these claims would be prohibited if representatives of

  Local Councils or Chartered Organizations filed their own

  bankruptcies, it would be inconsistent to use § 1123(b) to accomplish

  such a prohibited release when they are not bankrupt.

                     b.   Statutory Silence is Not Authority

        The bankruptcy court stated, “While the Code does not explicitly

  authorize releases, neither does it prohibit them.” BSA, 642 B.R. at


                                         38
                                    EXHIBIT 8                             Page 48 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  49
                                            08/18/23 Date
                                                      PageFiled:
                                                            85 of07/24/2023
                                                                  118 PageID #: 18153




  594. This logic runs counter to the purpose of the Bankruptcy Code,

  which Congress intended to be a “comprehensive scheme” to target

  “specific problems with specific solutions.” RadLAX Gateway Hotel,

  LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012). If the Code does

  not address certain problems or contain certain solutions, the court

  cannot read a solution into the code through “equitable powers.”

  Silence is not consent. Czyzewski v. Jevic Holdings Corp., 137 S. Ct.

  973, 984 (2017).

        Further, discharging nondebtors is not the purpose of the Code.

  The Code imposes obligations as well as provides benefits for debtors

  who file for bankruptcy protection. LTL Management, 64 F.4th at 100

  (“A debtor who attempts to garner shelter under the Bankruptcy Code

  ... must act in conformity with the code’s underlying principles.”

  Internal citation omitted). It is illogical to expect Congress to spell out

  that nondebtors, that have not filed for bankruptcy and are not saddled

  with the same obligations, are not entitled to the same benefits.

  Congress has not included in the Code every single thing the Code does

  not do.




                                         39
                                    EXHIBIT 8                             Page 49 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  50
                                            08/18/23 Date
                                                      PageFiled:
                                                            86 of07/24/2023
                                                                  118 PageID #: 18154




        Finally, when Congress did want to address the issue of

  nonconsensual releases for nondebtors, it enacted § 524(g) for asbestos

  cases in 1994. At that time, other mass tort cases had gone through

  bankruptcy. See, e.g., In re A.H Robins Co., 880 F.2d 694 (4th Cir.

  1989). Congress could have broadened the scope of § 524(g) but chose to

  apply it only to asbestos cases. Significantly, in 1997, the National

  Bankruptcy Review Commission issued its final report and

  recommended changing 524(g) to include other mass torts.6 That

  Congress has not changed the narrow statutory authority for nondebtor

  releases in 29 years, in the face of Commission recommendations to do

  so, indicates Congress does not want to.

                     c.   Releases are Contrary to Third Circuit Cases
                           Interpreting the Code

        Second, as discussed above, the releases are contrary to Third

  Circuit cases. Specifically, Combustion held that § 105(a) does not give

  a bankruptcy court power to create substantive rights not authorized by

  the Bankruptcy Code. In that asbestos case, this Court rejected

  nondebtor releases broader than those authorized in § 254(g). 391 F.3d



                           
        6     https://govinfo.library.unt.edu/nbrc/report/09bmass.html.
                                         40
                                    EXHIBIT 8                             Page 50 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  51
                                            08/18/23 Date
                                                      PageFiled:
                                                            87 of07/24/2023
                                                                  118 PageID #: 18155




  at 236. If bankruptcy courts lacks statutory authority to broaden

  releases authorized by § 254(g), then they lacks authority to grant even

  broader releases in a non-asbestos case.

        Other Third Circuit cases are in accord or at least not contrary to

  this conclusion. In Continental Airlines, this Court rejected the

  nondebtor releases proposed, but did not discuss statutory authority.

  Nor did this Court rule on statutory authority in Millennium Labs. In

  that case, this Court held that “under the particular facts of this case ...

  the bankruptcy court was constitutionally authorized to confirm the

  plan in which [nondebtor releases] appeared.” 945 F.3d at 140. This

  Court did not consider the statutory basis for such releases and

  ultimately dismissed the appeal as equitably moot.

        Most recently, this Court in LTL Management held that the

  Bankruptcy Code only allows debtors demonstrating financial hardship

  to file for bankruptcy protection. 64 F.4th 84. Following this reasoning,

  the Code cannot be interpreted as allowing nondebtors that have not

  filed for bankruptcy and do not demonstrate financial hardship to get

  bankruptcy protection.

  ///


                                         41
                                    EXHIBIT 8                             Page 51 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  52
                                            08/18/23 Date
                                                      PageFiled:
                                                            88 of07/24/2023
                                                                  118 PageID #: 18156




                     d.   U.S. Supreme Court Cases Limit the Equitable
                           Power of Bankruptcy Courts

        Third, using “inherent equitable powers” to grant nondebtor

  releases in non-asbestos cases is contrary to Supreme Court cases and

  the structure of legislative courts.

        Article I of the Constitution allows Congress to create legislative

  courts to implement a “federal regulatory scheme.” See, Stern v.

  Marshall, 564 U.S. 462, 490 (2011). Article I bankruptcy judges do not

  have general equitable powers; their authority is tethered to the

  “federal regulatory scheme” of the Bankruptcy Code. See, Law v.

  Siegel, 571 U.S. 415, 421 (2014) (“whatever equitable powers remain in

  the bankruptcy courts must and can only be exercised within the

  confines of” the Bankruptcy Code.) Their equitable power does not

  allow them to do something the code does not otherwise authorize in the

  name of “residual authority.”

        In recent years, the Supreme Court has clarified the narrow

  nature of bankruptcy courts’ equitable or inherent power. In Law, the

  Court unanimously held that a bankruptcy court does not have “a

  general, equitable power” or “inherent power” under § 105(a) to make

  orders inconsistent with other Code provisions. 571 U.S. at 425 (“A

                                         42
                                    EXHIBIT 8                             Page 52 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  53
                                            08/18/23 Date
                                                      PageFiled:
                                                            89 of07/24/2023
                                                                  118 PageID #: 18157




  bankruptcy court may not exercise its authority to ‘carry out’ the

  provisions of the Code” by taking an action inconsistent with its other

  provisions.) The Court reversed the bankruptcy court’s order denying a

  homestead exemption. The Court explained that there is “no authority

  for bankruptcy courts to deny an exemption on a ground not specified in

  the Code” because the Code was intended to be a comprehensive

  statement of the applicable rights and procedures. Id. at 416.

        More recently, in Czyzewski, the Court held that a bankruptcy

  court cannot override the protections afforded by the Bankruptcy Code

  in a “rare” case, even to carry out bankruptcy objectives. The

  bankruptcy court did not follow priority rules, putting unsecured

  creditors before nonconsenting judgment creditors. As here, plan

  proponents argued the bankruptcy court had inherent authority to

  deviate from the rules because the Code was “silent” on the subject and

  there was “sufficient reason” in that rare instance. The Supreme Court

  disagreed and held the “importance of the priority system leads us to

  expect more than simply statutory silence if, and when, Congress were

  to intend a major departure.” 137 S. Ct. at 984.




                                         43
                                    EXHIBIT 8                             Page 53 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  54
                                            08/18/23 Date
                                                      PageFiled:
                                                            90 of07/24/2023
                                                                  118 PageID #: 18158




        Law and Czyzewski demonstrate the Supreme Court’s trend in

  limiting the authority of bankruptcy courts. See also, Stern v.

  Marshall, 564 U.S. 462 (absent consent, bankruptcy courts lack

  constitutional authority to enter final judgments on state law

  counterclaims not resolved entirely through the claims process, despite

  Congress purportedly granting such authority in § 157(b)(2)(C));

  Northwest Bank Worthington v. Ahlers, 485 U.S. 197 (1988) (“whatever

  equitable powers remain in the bankruptcy courts must and can only be

  exercised within the confines of the Bankruptcy Code”). This line of

  cases strongly suggests the bankruptcy court had no residual or

  inherent authority to create substantive rights to nondebtor releases in

  the face of Congressional silence on the point.

                     e.   Bankruptcy Courts Have No General “Legal”
                           Authority and Releases are a Legal Remedy

        Third, because § 105(a) only gives a bankruptcy court equitable

  power, § 105(a) does not authorize legal remedies. Section 105(a)

  applies only to the bankruptcy court’s “inherent equitable power.” BSA,

  642 B.R. at 594. See, Law, 571 U.S. at 421 (2014) (the Supreme Court

  examined § 105 when ruling to limit the “equitable powers” of the

  bankruptcy court.); Combustion, 391 F.3d at 236 (discussing “[t]he

                                         44
                                    EXHIBIT 8                             Page 54 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  55
                                            08/18/23 Date
                                                      PageFiled:
                                                            91 of07/24/2023
                                                                  118 PageID #: 18159




  general grant of equitable power contained in § 105(a)”). A court’s

  “equitable power” is not blanket authority to “do equity” or to do

  whatever a court thinks is fair. 391 F.3d at 236. Rules and principles

  of equity jurisprudence, as well as the Bankruptcy Code, limit the scope

  of a court’s equitable power.

        In exercising equitable power, courts are, by definition, limited to

  equitable remedies. These include injunctions, accountings,

  interpleader, rescission and reformation of contracts, clearing of title to

  property, imposition of constructive or resulting trusts, or disposition of

  proceeds of funds to class claimants. In contrast, third-party state law

  claims seek the legal remedy of money judgements and give rise to the

  right to jury trial. A direct legal claim is a property interest and to

  extinguish, or substantially alter, that property interest is a substantive

  due process violation. See, Adam J. Levitin, The Constitutional

  Problem of Nondebtor Releases in Bankruptcy, 91 Fordham L. Rev. 429,

  440 (2022) (“Creditors who have a direct claims against nondebtors

  have property interests; their direct claims are ‘choses in action.’ Like

  other types of property interests, choses in action are protected under




                                         45
                                    EXHIBIT 8                             Page 55 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  56
                                            08/18/23 Date
                                                      PageFiled:
                                                            92 of07/24/2023
                                                                  118 PageID #: 18160




  the Due Process Clause.”); Combustion, 391 F.3d at 202, 238 (treating

  nondebtor releases as “substantive rights”).

        Direct, independent claims by nondebtor abuse claimants against

  nondebtor Local Councils and Chartered Organizations are state law

  tort claims (almost always common law claims) that seek legal

  remedies. The third-party releases in BSA’s plan provide the third

  parties with a substantive legal remedy – dismissal of claims with

  prejudice through release and discharge – not an equitable remedy.

  The releases are a legal remedy because they completely extinguish

  abuse claimants’ substantive rights to their state law tort claims. They

  are, as the bankruptcy court recognized, a final judgment that

  dismisses all third-party claims against nondebtors with res judicata

  effect. BSA, 642 B.R. at 630 (“[T]there is abundant common law on the

  doctrine of res judicata and collateral estoppel as it applies to orders

  confirming plans.”) (citing In re USN Communications, Inc., 280 B.R.

  573, 592 (Bankr. D. Del. 2002) (“[A] confirmed plan acts as a binding

  contract on all the parties thereto”); 8 Collier on Bankruptcy, 1141.02

  (16th ed. 2021) (“A confirmation order operates as a final judgment.”)).

  The releases expressly “discharge” nondebtors’ obligations as would


                                         46
                                    EXHIBIT 8                             Page 56 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  57
                                            08/18/23 Date
                                                      PageFiled:
                                                            93 of07/24/2023
                                                                  118 PageID #: 18161




  their own bankruptcy or a judgment of dismissal. A00991-92. Congress

  gave bankruptcy courts power to discharge the obligations of a debtor.

  Congress did not give bankruptcy courts, directly or through § 105(a),

  power to give nondebtors the legal remedies of release and discharge for

  state law claims of third parties.

        The fact that abuse claims against third parties are channeled to

  the Settlement Trust does not change the nature of the releases as a

  final adjudication and legal remedy. The third-party claims in Purdue

  were also channeled, but the Second Circuit still found that the releases

  were a final resolution of the claims. 69 F.4th at 68. The releases here

  completely extinguish the bundle of rights abuse claimants had in their

  third-party state law claims. That the channeling injunctions

  substitute a different, lesser bundle of rights to bring those claims in a

  limited administrative process does not undo the fact that the original

  bundle of rights is gone. This is particularly clear where the channeled

  claims against third-party Local Councils and Chartered Organizations

  will not result in any additional compensation to abuse victims. The

  Proof of Claim form provides only for one “Abuse Claim” for abuse in

  Scouting, with no consideration of liability and certainly no distinction


                                         47
                                    EXHIBIT 8                             Page 57 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  58
                                            08/18/23 Date
                                                      PageFiled:
                                                            94 of07/24/2023
                                                                  118 PageID #: 18162




  of liability among BSA, a Local Council, and a Chartered Organization.

  See, e.g., A26372-83 (sample POC). There is no mechanism in the

  plan’s Tort Distribution Procedures to award any more to a claimant

  with independent, direct claims against a Local Council or Chartered

  Organization. A1009-55 (Tort Distribution Procedures).

        Because the releases are a legal remedy, no grant of equitable

  power to the bankruptcy court can be the basis for them, whether that

  equitable power comes from §§ 105(a), 1123(a)(5), 1123(b)(6), or the

  court’s “residual authority.”

                     f.   Conclusion Regarding Statutory Authority

        Because equitable power of bankruptcy courts must be exercised

  within the confines of the Bankruptcy Code, and the code does not

  authorize the releases and injunctions, there was no statutory authority

  for the court to grant them. This conclusion comports with statutory

  interpretation, Third Circuit case law, Supreme Court cases, and the

  premise that no equitable power gives the bankruptcy court authority to

  grant legal relief.

  ///

  ///


                                         48
                                    EXHIBIT 8                             Page 58 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  59
                                            08/18/23 Date
                                                      PageFiled:
                                                            95 of07/24/2023
                                                                  118 PageID #: 18163




              4.    The Bankruptcy Court Erred in Applying “Guidelines”
                     to Grant Nondebtor Releases

        The bankruptcy court erred in applying judge-created “guidelines”

  and “factors” to reach the legal conclusions that the releases and

  injunctions were proper under federal caselaw.

                     a.   It was Error to Apply Federal Common Law to
                           State Law Tort Claims

        Non-bankruptcy state law governs the substance of direct claims

  against nondebtors. Federal courts, including bankruptcy courts,

  cannot make common law to govern state law claims. This rule is

  grounded in the Rules Enabling Act, 28 U.S.C. § 2072, as interpreted in

  Erie v. Tompkins, 304 U.S. 64 (1938).7 The Rules Enabling Act provides

  (with emphasis added):

        (a) The Supreme Court shall have the power to prescribe
           general rules of practice and procedure and rules of
           evidence for cases in the United States district courts ...
           and courts of appeals.


                           
        7  The Erie Doctrine applies to bankruptcy courts exercising
  “related to” jurisdiction. Marshall v. Marshall, 547 U.S. 293, 313 (2006)
  (if a state law claims is subject to “related to” jurisdiction, “[i]t is clear,
  under Erie, that [state] law governs the substantive elements of [the]
  claim.”); see also, Raleigh v. Ill. Dep’t of Revenue, 530 U.S. 15, 20 (2000)
  (non-bankruptcy “state law governs the substance of claims” asserted in
  federal court under bankruptcy jurisdiction); see generally Alfred Hill,
  The Erie Doctrine in Bankruptcy, 66 Harv. L. Rev. 1013 (1953).
                                         49
                                    EXHIBIT 8                             Page 59 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  60
                                            08/18/23 Date
                                                      PageFiled:
                                                            96 of07/24/2023
                                                                  118 PageID #: 18164




        (b) Such rules shall not abridge, enlarge or modify any
           substantive right. All laws in conflict with such rules
           shall be of no further force or effect after such rules have
           taken effect.

        In Erie, the Supreme Court expanded its interpretation of the

  Rules Enabling Act and held that federal courts must apply state

  common law (as well as state statutes) when adjudicating state law

  claims. 304 U.S. at 78. “Except in matters governed by the Federal

  Constitution or by Acts of Congress, the law to be applied in any case is

  the law of the State.... There is no general federal common law.” Id.

  The Supreme Court analyzed constitutional problems with courts

  applying federal common law. First, doing so offends federalism

  because the judiciary does not have the power to create substantive law

  in substantive areas governed by state law. Second, it offends

  principles of separation of power because Congress, as the legislative

  branch, is charged with making laws, not judges.

        The releases and channeling injunctions extinguish the

  substantive state law rights of D&V Claimants and discharge Local

  Councils and Chartered Organization from all liability. While the

  claims are channeled to the Settlement Trust, the rights of abuse



                                         50
                                    EXHIBIT 8                             Page 60 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  61
                                            08/18/23 Date
                                                      PageFiled:
                                                            97 of07/24/2023
                                                                  118 PageID #: 18165




  claimants in the Settlement Process are different and greatly

  diminished compared to their original state law rights.

        The nonconsensual settlement and discharge of state law claims

  “abridge” and “modify” the substantive rights of claimants, and

  “enlarge” the rights of the putative defendants, by extinguishing

  claimants’ causes of action without adjudication on the merits.

  Bankruptcy courts cannot use federal law to alter these substantive

  rights. 28 U.S.C. § 2072(b). Bankruptcy courts must use state law –

  not create federal common law – to govern these rights. Erie, 304 U.S.

  at 78. They cannot apply “guidelines” and “factors” created by federal

  judges.

        Because this alteration of their state law rights is substantive, the

  constitutional limits proscribed by Erie v. Tompkins govern:

        That which must govern the parties’ rights and obligations
        in federal court under Erie’s constitutional holding are the
        “substantive rules ... applicable in a State” for the state law
        claim. And there can be no question but that extinguishing
        those state-law rights and obligations via nonconsensual
        nondebtor release is an alteration that is “substantive” in
        every traditional sense.8
                           
        8   Amici Curiae Brief of Bankruptcy Law Professors Ralph
  Brubaker, George W. Kuney, and Bruce Markell in Support of
  Appellees, filed March 18, 2022, In re Purdue Pharma, Second Cir. Case
  No. 22-110, ECF No. 603 at 8.
                                         51
                                    EXHIBIT 8                             Page 61 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  62
                                            08/18/23 Date
                                                      PageFiled:
                                                            98 of07/24/2023
                                                                  118 PageID #: 18166




        Here, the bankruptcy court used rules made by federal judges to

  decide that nonconsensual releases were permissible. Doing so was “an

  illegitimate and unconstitutional exercise of substantive lawmaking

  powers” by the bankruptcy court that “contravenes the separation-of-

  powers limitations embedded in both the Bankruptcy Clause and Erie’s

  constitutional holding.” Ralph Brubaker, Mandatory Aggregation of

  Mass Tort Liability in Bankruptcy, 131 Yale L.J.F. 960, 973 (2022).

  The judge-made guidelines and factors used by the bankruptcy court

  violate principles of federalism, separation of powers, and the holdings

  in Erie. There is no common law discharge power. The right of a debtor

  to get a bankruptcy discharge is authorized only by the Bankruptcy

  Code. See, Brubaker at 5 (citing Charles Jordan Tabb, The Historical

  Evolution of the Bankruptcy Discharge, 65 Am. Bankr. L.J. 325 (1991)).

  Without an express grant of authority by Congress, no federal court

  may create common law rules about when to discharge the debts of a

  non-bankrupt party.

  ///

  ///



                                         52
                                    EXHIBIT 8                             Page 62 of 81
          Case: 23-1666 Document
Case 1:22-cv-01237-RGA   Document: 61 Filed
                                 224    Page:  63
                                            08/18/23 Date
                                                      PageFiled:
                                                            99 of07/24/2023
                                                                  118 PageID #: 18167




                     b.   It was Legal Error to Conclude the Releases Meet
                           Federal Law Guidelines

        The guidelines are invalid because they violate the Erie Doctrine.

  Additionally, the bankruptcy court erred in concluding they support

  these releases. The bankruptcy court drew erroneous legal conclusions

  from the facts it considered. Further, the district court erred in

  affirming those findings under the “clear error” standard applicable to

  findings of fact, not conclusions of law. Whether the releases and

  injunction meet Third Circuit guidelines are not pure findings of fact to

  be reviewed for clear error. These determinations are legal conclusions

  or, at most, mixed questions of law and fact. When “conclusions [] are

  but legal inferences from facts” this Court is not bound by them. Block

  v. Potter, 631 F.2d 233, 241 (3d Cir. 1980) (internal citation omitted).

  Whether the facts support the legal conclusions that the releases and

  injunctions met Third Circuit guidelines is subject to de novo review by

  this Court. LTL Management, 64 F.4th at 99

        This Court should reject the bankruptcy court’s conclusions. The

  releases and injunctions here do not meet the hallmarks of fairness,

  necessity, and specific findings of fact. Continental, 203 F.3d at 214.



                                         53
                                    EXHIBIT 8                             Page 63 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 64
                                              08/18/23 Date
                                                       PageFiled:
                                                            100 of07/24/2023
                                                                    118 PageID #: 18168




   Nor do they meet the five factors in Master Mortgage Investment Fund,

   Inc., 168 B.R. 930 (Bankr. W.D. Mo. 1994).

                          i.     Hallmarks

         First, the releases and injunctions are not fair to Direct Abuse

   Claimants because, as required for fairness, they will not receive any

   additional compensation for their third-party claims. See, Continental,

   203 F.3d at 213 (discussing need for “additional” compensation). As for

   claims against Chartered Organizations (other than the Methodists),

   abuse claimants will not get any additional monetary compensation at

   all. As discussed above, no Chartered Organization besides the

   Methodist group is paying any money into the Settlement Trust. The

   only thing Chartered Organizations are providing is their rights in BSA

   insurance policies they did not pay for. Abuse claimants will not receive

   any compensation as a result of those “contributions.”

         Because the plan has no provision for assessing the separate

   liability of each potential defendant, a claimant with separate claims

   against a Chartered Organization or Local Council will receive the same

   compensation as one with a claim only against BSA. What is more,

   because the policies paid for by BSA are limited to one payment per


                                          54
                                     EXHIBIT 8                             Page 64 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 65
                                              08/18/23 Date
                                                       PageFiled:
                                                            101 of07/24/2023
                                                                    118 PageID #: 18169




   incident under their “Combined Single Limits” provisions, direct abuse

   claimants will not receive any additional compensation related to

   Chartered Organizations’ (or Local Councils’) rights in BSA policies.

   BSA, 642 B.R. at 528-29. Nor will claimants receive any additional

   compensation for policies Chartered Organizations bought themselves

   from Settling Insurers – policies that are not even a shared asset with

   Debtors. Because the Settling Insurers are paying a lump sum into the

   Settlement Trust, direct abuse claimants will not receive any additional

   compensation as a result of Chartered Organizations turning over their

   own insurance. Nonetheless, abuse claimants must release and channel

   claims covered by these policies.

         Nor are the releases and injunctions fair as to the Local Council

   settlement. Local Councils and their representatives are getting all the

   benefits of their own bankruptcies and more – a discharge of all sexual

   abuse liability (including for fraud and punitive damages) and

   channeling of claims to the Settlement Trust – without undertaking the

   burdens of bankruptcy. Local Councils as a group created their own

   complicated procedure for settlement and now want to be rewarded

   with releases for getting internal agreement among themselves for the


                                          55
                                     EXHIBIT 8                             Page 65 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 66
                                              08/18/23 Date
                                                       PageFiled:
                                                            102 of07/24/2023
                                                                    118 PageID #: 18170




   complicated procedure and settlement they created. The issue is not

   whether Local Councils agreed to the settlement they came up with but

   whether that settlement is fair to claimants. LTL Management, 64

   F.4th at 111 (a sincerely held belief that a plan “creates the best of all

   possible worlds” is not enough). It is not fair to nonconsenting

   claimants. Local Councils did not have to fully disclose their assets,

   analyze whether their contribution was fair and reasonable in light of

   potential liabilities, or give up most of their assets to creditors, as they

   would have in their own bankruptcies. Local Councils hold net assets

   with an estimated aggregate value of $3.3 billion. A20845 (Disclosure

   Statement). They are contributing $665 million to the Settlement

   Trust.9 This monetary payment is only 19.8 percent of Local Councils’

   aggregate net assets, far less than they would have to pay to satisfy

   creditors in their own bankruptcies.

         Second, the releases and injunctions are not necessary for

   reorganization. Even if necessary for this plan of reorganization, they



                            
        9 Local Councils are also contributing insurance rights. But those
   rights are not part of the $33.3 billion in assets, so are beside the point
   on the issue of whether they contributed substantially all of their assets
   to satisfy claims of their creditors.
                                          56
                                     EXHIBIT 8                             Page 66 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 67
                                              08/18/23 Date
                                                       PageFiled:
                                                            103 of07/24/2023
                                                                    118 PageID #: 18171




   are not necessary for a plan of reorganization. There was testimony

   from BSA witnesses at confirmation that the alternate Toggle plan was

   feasible at the time of confirmation. A02506-09 (Hr. Tr. Day 5 at 72:9-

   75:13). Counsel for BSA acknowledged this, but argued that the Toggle

   plan was “not optimal.” A05789 (Hr. Tr. Day 20 at 63:14-17). As long

   as the Toggle plan – or a version of it – was possible, even if not

   “optimal,” the releases in this particular plan were not “necessary.” It

   was error for the lower courts to draw a contrary legal conclusion.

         Finally, there are no findings of fact specific to each party being

   released. There is a 4,808-page list of over 310,000 Chartered

   Organizations posted on the Omni docket. This list is beside the point.

   The problem is there was no attempt to analyze the potential liability

   and available assets of these Chartered Organizations. There were no

   findings of fact regarding such an analysis and no evidence in the

   record. Without evidence about their assets – including their own

   insurance – and what liability they face, it is impossible to determine

   whether the nondebtors are entitled to bankruptcy protection (see

   discussion of LTL Management, above) or if direct abuse claimants have

   received reasonable consideration in exchange for the releases they are


                                          57
                                     EXHIBIT 8                             Page 67 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 68
                                              08/18/23 Date
                                                       PageFiled:
                                                            104 of07/24/2023
                                                                    118 PageID #: 18172




   forced to give. To decide that the releases were reasonable without

   these findings was complete speculation on the part of the bankruptcy

   court.

         Likewise, the findings regarding Local Councils were insufficient

   to conclude that their contribution was reasonable or fair to abuse

   claimants or that Local Councils were entitled to bankruptcy protection.

   While there was some evidence (not sufficient) about the assets and

   number of claims related to each Local Council, there was no analysis of

   the assets or the liabilities, and no findings of fact, as to each Local

   Council sufficient to justify their release. A20822-45, A20882-916

   (Disclosure Statement spreadsheets of Local Council assets and claims).

                         ii.     Master Mortgage Factors

         The Master Mortgage factors also weigh against third-party

   releases and injunctions. While many of the bankruptcy court’s

   findings of fact concerning these factors may not be in dispute, the legal

   conclusions the court drew from the factual findings are. This Court

   reviews those legal conclusions de novo.

         Three of the five factors overlap with either jurisdictional issues or

   the hallmark of fairness. Those are the factors concerning the “identity


                                          58
                                     EXHIBIT 8                             Page 68 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 69
                                              08/18/23 Date
                                                       PageFiled:
                                                            105 of07/24/2023
                                                                    118 PageID #: 18173




   of interest” between the debtor and the third party; whether the

   nondebtor has contributed substantial assets; and whether the

   injunctions are “essential” to the reorganization. For the reasons

   discussed above, those factors are not met and the bankruptcy court

   erred in drawing the legal conclusion that they were.

         The fourth factor is whether the “impacted class” has

   “overwhelmingly” voted to accept the proposed plan treatment. Only 59

   percent of all Direct Abuse Claimants voted in favor of this plan. Those

   48,463 were 85.72 percent of the total number who voted, but it does not

   show “overwhelming” support that the plan could not get more

   claimants to vote. Over 14 percent (8,073) of Direct Abuse Claimants

   who voted, voted to reject the plan. A12168-70 (Final Vote Tabulation).

         In light of the many cases discussing this factor and concluding

   that votes of over 90 percent are required in non-asbestos cases, it was

   error for the bankruptcy court to reach the legal conclusion that the

   plan had overwhelming support. See In re Wool Growers Cent. Storage

   Co., 371 B.R. 768, 777 (Bankr. N.D. Tex. 2007) (“Most courts have held

   that factor four [of the Master Mortgage factors] is satisfied when over

   ninety percent of the impacted creditors approve the plan.”);


                                          59
                                     EXHIBIT 8                             Page 69 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 70
                                              08/18/23 Date
                                                       PageFiled:
                                                            106 of07/24/2023
                                                                    118 PageID #: 18174




   Millennium Labs, 945 F.3d at 132 (93% agreement); In re American

   Family Enters., 256 B.R. 377, 392 (D. N.J. 2000) (100% and 99.99% of

   the affected classes); Master Mortgage, 168 B.R. at 938 (94.8% and

   96.2%); In re Heron, Burchette, Ruckert & Rothwell, 148 B.R. 660, 674

   (Bankr. D.D.C. 1992) (97%); A.H. Robins Co., 880 F.2d at 700 (94% of

   tort claimants); In re AOV Indus., 792 F.2d 1140, 1143 (D.C. Cir. 1986)

   (roughly 90% of in each class); See also In re USA Gymnastics, Case No.

   18-09108 [D.I. 1776] ¶¶ Q., II. (Bankr. S.D. Ind. Dec. 16, 2021) (100%).

         The fifth factor is whether claimants will be paid in full. They will

   not be. The evidence and BSA’s arguments on this issue were

   confusing, to say the least. BSA’s expert witness, Dr. Charles Bates,

   testified that direct abuse claimants will be paid in full because he

   believes the direct abuse claims have an aggregate value (in the tort

   system) between $2.4 and $7.1 billion, most likely between $2.4 and

   $3.6 billion. BSA, 642 B.R. at 556-57. Therefore, the bankruptcy court

   found that the $2.5 billion committed to the Settlement Trust was

   sufficient to pay the claims in full. Id. at 607. The court reiterated its

   “payment in full” conclusion after calculating the addition of $200

   million in “committed, but contingent funding” and another yet


                                          60
                                     EXHIBIT 8                             Page 70 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 71
                                              08/18/23 Date
                                                       PageFiled:
                                                            107 of07/24/2023
                                                                    118 PageID #: 18175




   unavailable, speculative, approximately $400 million in general liability

   and $4 billion in “unallocated” excess insurance coverage from Non-

   Settling Insurers, to bring the total to approximately $7 billion. Id. at

   560-61. “Unallocated” insurance means policies not triggered by the

   filed abuse claims. Id. at 561, n. 277.

         There are several problems with the court’s findings, Bates’s

   testimony, and the bankruptcy court’s conclusion that direct abuse

   claimants will be paid in full.

         First, it is wildly speculative to think there will ever be $7 billion

   in the Settlement Trust and there are no findings to support such a

   conclusion. There could not be without a crystal ball and full litigation

   of all coverage issues. There are no findings of fact related to the

   certainty that $200 million in contingent funding or $4.4 billion in

   unsettled insurance coverage will ever be paid into the Settlement

   Trust. It would be impossible to make such findings because, by

   definition, this funding is contingent on future events or dependent on

   coverage litigation and defenses. No one knows how much, if any, of

   this money will ever go into the Settlement Fund.




                                          61
                                     EXHIBIT 8                             Page 71 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 72
                                              08/18/23 Date
                                                       PageFiled:
                                                            108 of07/24/2023
                                                                    118 PageID #: 18176




         The Master Mortgage finding requires that a plan “provides” a

   mechanism for payment, not that it “might provide” for payment. 168

   B.R. at 935. The only findings about actual, existing funds provided for

   payment is the finding that the plan calls for $2,484,200,000 in

   “noncontingent funding.” But the bankruptcy court never directly said

   it considered this amount sufficient for full payment.

         The bankruptcy court made conflicting findings on this point. On

   the one hand, the court found that the total $7 billion would be in the

   Settlement Trust:

         The committed, but contingent funding could bring another
         $200 million into the Settlement Trust. These funds,
         together with the available allocated insurance against Non-
         Settling Insurance Companies brings the total to [just over
         $3 billion].... Finally, the Settlement Trust assets include an
         additional $4 billion in currently unallocated insurance
         against Non-Settling Insurance Companies [for a total of $7
         billion].

   642 B.R. at 561, emphasis added. On the other hand, the court

   correctly found that the plan only gives the Settlement Trustee the

   ability to negotiate with Non-Settling Insurers to contribute funds

   equaling the amount of unsettled insurance coverage. Id. at 606 (“It

   also provides the Settlement Trustee a chance ... to negotiate with Non-

   Settling Insurance Companies with respect to the $400 million in

                                          62
                                     EXHIBIT 8                             Page 72 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 73
                                              08/18/23 Date
                                                       PageFiled:
                                                            109 of07/24/2023
                                                                    118 PageID #: 18177




   allocated insurance and $4 billion in unallocated insurance.”). These

   two findings directly conflict. It was error to find the Settlement Trust

   assets include $4.4 billion in unsettled insurance.

         The plan itself does not include this $4.4 billion as an asset of the

   Settlement Trust. The plan only provides a mechanism for the

   Settlement Trustee to attempt to negotiate for the unsettled insurance

   funds. Any conclusion that $4.4 billion in unsettled insurance definitely

   will bring the trust assets to $7 billion was erroneous. Reaching $7

   billion would require obtaining, through litigation or settlement, 100

   percent of the maximum amount of potentially available insurance from

   Non-Settling Insurers, including $4 billion in unallocated insurance not

   triggered by abuse claims. 642 at 561, n. 277.

         BSA argued throughout this case that the fears of Non-Settling

   Insurers that they will have to pay this $4.4 billion are overblown

   because these assets are subject to further coverage litigation and

   coverage defenses. The bankruptcy court made multiple findings about

   Non-Settling Insurers’ right to contest coverage. See, e.g., 642 B.R. at

   648. It is one or the other. Either Non-Settling Insurers’ fears are

   justified, or these assets are not really available for abuse claimants.


                                          63
                                     EXHIBIT 8                             Page 73 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 74
                                              08/18/23 Date
                                                       PageFiled:
                                                            110 of07/24/2023
                                                                    118 PageID #: 18178




   For now, these funds do not exist. Their availability is speculative and

   – without evidence or findings concerning the merits of the coverage

   litigation, defenses, or claims – there is no evidence that the unsettled

   assets will ever be available to pay claimants “in full” or at all. It was

   error to conclude otherwise.

         What is more, there is no reason to believe that, if Non-Settling

   Insurers are to settle, they will settle for 100 percent of these assets.

   Settling Insurers faced billions of dollars in coverage exposure, given

   the years of policies with no aggregate limits, but Hartford settled for

   $787 million, Century for $800 million, Zurich for $52.5 million, and

   Clarendon for $16.5 million. 642 B.R. at 564-67. Likewise, Local

   Councils combined hold $3.3 billion in net assets, including $1.87 billion

   in unrestricted assets, and settled for only $665 million. The

   bankruptcy court erred in finding that any amount of the unsettled

   insurance is going to the Settlement Trust, let alone that 100 percent of

   this unsettled insurance will be available to pay claimants.

         Second, Bates’s testimony does not show payment in full. With

   $2,484,200,000 in “noncontingent funding” and estimated

   administrative expenses of ten percent, there will be $2,235,780,000 in


                                          64
                                     EXHIBIT 8                             Page 74 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 75
                                              08/18/23 Date
                                                       PageFiled:
                                                            111 of07/24/2023
                                                                    118 PageID #: 18179




   the Settlement Trust. 642 B.R. at 561; A20534 (Disclosure Statement).

   Even at Bates’s lowest estimate of aggregate tort value, $2.4 billion,

   claimants would receive approximately 93 percent payment, not

   payment in full. At the higher end of his expected range, $3.6 billion,

   abuse claimants would only receive approximately 62 percent payment,

   nowhere near payment in full. At the upper end of Bates’s possible

   range, $7.1 billion, abuse claimants would only receive approximately

   31.5 percent.

         Further, Bates did not testify that one end of his $2.4 to $3.6

   billion range – or any point in the middle – was more or less likely.

   Based on his testimony, a 62 percent payment is just as likely as a 93

   percent payment, as is any number in between. Even if, for argument’s

   sake, 93 percent is payment in full, 62 percent is nowhere close. The

   bankruptcy court made no findings regarding this potential range of

   results and merely concluded that “the Plan provides for payment in

   full.” 642 B.R. at 607. This Court should reject those findings, as it did

   with the “back-of-the-envelope” calculations in LTL Management. 64

   F.4th at 108 (“W]e cannot help noting that the casualness of the

   calculations supporting the Court’s projections engenders doubt as to


                                          65
                                     EXHIBIT 8                             Page 75 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 76
                                              08/18/23 Date
                                                       PageFiled:
                                                            112 of07/24/2023
                                                                    118 PageID #: 18180




   whether they were factual findings at all, but instead back-of-the-

   envelope forecasts.... Still, to the extent they were findings of fact, we

   cannot say these were inferences permissibly drawn and entitled to

   deference. [Citation omitted.] Hence, they were clearly erroneous.”)

         Third, Bates’s $2.4 to $3.6 billion valuation range is contrary to

   the TDP “Matrix” in the plan. The primary reason he opined that the

   likely aggregate range was $2.4 to $3.6 billion was his conclusion that

   the Settlement Trustee would greatly reduce the Base Matrix Value of

   claims involving single victim abusers. He, therefore, greatly reduced

   the value of the 77 percent of claims involving “single abuser[s]” – those

   claims identifying an abuser not identified in any other claim. A02765-

   66 (Hr. Tr. Day 6, 134:1-135:15). He opined that claims involving single

   victim abusers have a lower value, therefore “most of the claims will, to

   emulate the tort values, be scaled downward from the base matrix

   values…by design.” A02839-40 (Id. at 208:13-209:12).

         The glaring problem with this opinion is there is no mechanism in

   the TDP for the Settlement Trustee to scale down the claim values for

   single victim abusers. Bates designed the TDP Base Matrix Values and

   the scaling factors “based on and consistent with BSA’s historical abuse


                                          66
                                     EXHIBIT 8                             Page 76 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 77
                                              08/18/23 Date
                                                       PageFiled:
                                                            113 of07/24/2023
                                                                    118 PageID #: 18181




   settlements and litigation outcomes.” Id. at 31:22-32:7. The Base

   Matrix Values Bates came up with are the values for a single victim

   abuser, as the TDPs clearly state. A01026. The scaling and mitigating

   factors do not include a factor to decrease the Base Matrix Value for

   single victim abusers. The scaling factors, on the other hand,

   specifically increase the Base Matrix Value by different increments if an

   abuser has multiple victims, depending on the number of victims. Id.

   The TDP only allows the value to be ratcheted up, not down, for the

   number of victims.

         The Settlement Trustee has no authority or discretion to reduce

   the value of the claim based on a single victim abuser because there is

   no mitigating factor to allow that. Bates’s testimony that claims in the

   TDP will be scaled downwards from the Base Matrix Values because

   they involve single victim abusers is simply, flat out wrong. It did not

   require a competing expert witness to testify to this point. It only

   requires reading the language of the TDPs.

         Fourth, the bankruptcy court disregarded evidence contradicting

   Bates’s $2.4 to $7.1 billion valuation. For example, the Tort Claimants

   Committee concluded that the aggregate value of direct abuse claims


                                          67
                                     EXHIBIT 8                             Page 77 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 78
                                              08/18/23 Date
                                                       PageFiled:
                                                            114 of07/24/2023
                                                                    118 PageID #: 18182




   ranges from $13.5 billion to $73.2 billion. A20534-35 (Disclosure

   Statement). The TCC merely ran basic data through the Matrix about

   the number of each type of claim (Penetration, Oral Sex, Masturbation,

   etc.), statutes of limitations, and scaling factors to calculate the range

   under the Matrix. Id. If the TCC’s low estimate of $13.5 billion is even

   close, direct abuse claimants will receive only approximately 16.5

   percent of the value of their claims, which is obviously not payment in

   full. Sadly, if the TCC’s high estimate of $73.2 billion is correct,

   claimants will receive only roughly three percent of the value of their

   claims.

         Again, this is not a point on which expert testimony was required.

   The TCC’s calculation and method were simple enough for the

   bankruptcy court to approve sending it to abuse claimants in the

   Disclosure Statement.

         The bankruptcy court wrongly concluded that the plan provides

   payment in full to direct abuse claimants.

                     5.    The Plan Treats Current Claimants Unfairly
                            Compared to Future Claimants

         The Future Claims Representative testified that future claimants

   will have decades to come forward and the Settlement Trust will have

                                          68
                                     EXHIBIT 8                             Page 78 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 79
                                              08/18/23 Date
                                                       PageFiled:
                                                            115 of07/24/2023
                                                                    118 PageID #: 18183




   to remain open until the last one does. A03249-51 (Hr. Tr. Day 8,

   121:19-25, 122:15-123:2). The Trust can make initial payments but

   must hold back enough money to cover future claims. There is no plan

   deadline for future claimants and they have until the statutes of

   limitations expire in their states to bring claims. For example, a minor

   abused in Cub Scouts (ages six to ten) in Vermont, a state with no

   statute of limitations, will have until he dies to file a claim, which could

   be 70 or more years from now. It is not fair to current claimants to

   make them wait decades for their compensation.

                             VII.   CONCLUSION

         The nonconsensual third-party releases and injunctions are

   contrary to Third Circuit and Supreme Court cases and violate

   claimants’ substantive due process rights. There is no statutory

   authority for the releases and injunctions and they are an

   unconstitutional use of federal common law. Also, the plan is unfair to

   current claimants compared to future claimants. For these reasons and

   as further discussed above, this Court should reverse the district and

   bankruptcy court orders and deny confirmation.

   ///


                                          69
                                     EXHIBIT 8                             Page 79 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 80
                                              08/18/23 Date
                                                       PageFiled:
                                                            116 of07/24/2023
                                                                    118 PageID #: 18184




   Dated: July 24, 2023                        DUMAS & VAUGHN, LLC

                                               By: __/s/ Gilion C. Dumas_____
                                               3835 NE Hancock St., Suite GLB
                                               Portland, OR 97212
                                               Telephone: (503) 616-5007
                                               gilion@dumasandvaughn.com

                                               Charles J. Brown, III, Esquire
                                               GELLERT SCALI BUSENKELL
                                               & BROWN LLC
                                               1201 N. Orange St., 3rd Floor
                                               Wilmington, DE 19801
                                               Phone: (302) 425-5813
                                               Email: cbrown@gsbblaw.com




   




                                          70
                                     EXHIBIT 8                             Page 80 of 81
           Case: 23-1666 Document
Case 1:22-cv-01237-RGA    Document:
                                  22461 Filed
                                           Page: 81
                                              08/18/23 Date
                                                       PageFiled:
                                                            117 of07/24/2023
                                                                    118 PageID #: 18185




                       CERTIFICATE OF COMPLIANCE

   I hereby certify that this brief complies with the word limit in Federal
   Rules of Appellate Procedure 32. This brief contains 12,989 words, as
   calculated by Microsoft Word, excluding the portions of the brief
   exempted by FRAP 32(f). Further, this brief is prepared in a
   proportionally spaced typeface using Microsoft Word in 14-point
   Century.

   As required by Local Appellate Rules 28.3(d), I further certify that both
   attorneys whose names appear on this brief have been admitted to the
   bar of this court.

   I further certify that on July 24, 2023, I served this OPENING BRIEF
   OF D&V CLAIMANTS on all parties to this appeal through the court’s
   electronic-filing service and as required by FRAP 25(c).


   Dated: July 24, 2023                        /s/ Gilion C. Dumas_________
                                               Gilion C. Dumas




                                          71
                                     EXHIBIT 8                             Page 81 of 81
Case 1:22-cv-01237-RGA Document 224 Filed 08/18/23 Page 118 of 118 PageID #: 18186




                        CERTIFICATE OF SERVICE

        I, Charles J. Brown, III, hereby certify that on August 18, 2023, I

  caused a copy of the forgoing DECLARATION OF GILION C. DUMAS

  IN SUPPORT OF THE EMERGENCY RENEWED MOTION OF THE

  DUMAS & VAUGHN CLAIMANTS FOR STAY, to be served on all

  registered users of the Court’s Case Management/Electronic Case File

  (“CM/ECF”) in this case via CM/ECF.


  DATED: August 18, 2023             GELLERT SCALI BUSENKELL &
                                     BROWN LLC

                                      /s/ Charles J. Brown, III
                                      Charles J. Brown, III, Esquire (No.
                                      3368)
                                      1201 N. Orange St., 3rd Floor
                                      Wilmington, DE 19801
                                      Phone: (302) 425-5813
                                      Email: cbrown@gsbblaw.com

                                      Counsel for D&V Claimants
